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           Appendix A
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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description           Defendants' Motion To Seal             Defendants' Basis For        Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
DX-010    AA-         AA-NEA-    Document titled        American moves to redact from           As explained in Section      Historic; Overredacted.
          NEA-        00070357   "[Customer] Overview   this summary document, which            II.D. of the Motion,
          00070353               - March 2019"          details the terms and strategy with     customer names and           The document from March
                                                        respect to one of its key customers,    specific pricing and         2019 relates to the
                                                        the customer name, targeted             discounting terms relevant   performance of a corporate
                                                        discounting strategy and pricing        to the customer if           customer contract.
                                                        terms, and other granular financial     disclosed would harm         Plaintiffs do not object to
                                                        data that is competitively sensitive.   American's competitive       redacting the customer
                                                                                                standing by enabling         name, but oppose
                                                                                                competitors to target        Defendants' other
                                                                                                American's key customer      redactions.
                                                                                                using the information
                                                                                                contained in the exhibit.
                                                                                                The customer also has a
                                                                                                privacy interest against
                                                                                                disclosure in this trial.
DX-075    AA-         AA-NEA-    Document titled 2021   American moves to seal this             As explained in Section      Core to the NEA; Historic;
          NEA-        02294080   NEA Transfer           exhibit in its entirety. The exhibit    II.C of the Motion,          Overredacted.
          02294080               Payment dated          is titled "NEA Growth and 2021          disclosure of granular
                                 December 17, 2021      Incremental Revenue and Transfer        financial data will harm     This document describes a
                                                        Payment" and contains detailed          American's competitive       2021 payment between
                                                        analysis of American's and              standing. The exhibit        Defendants pursuant to the
                                                        JetBlue's confidential and              provides detailed            MGIA. Defendants
                                                        competitively sensitive revenue         accounting of American's     propose sealing this
                                                        data in 2021 using accounting           and JetBlue's revenue data   document entirely, and
                                                        methods that are proprietary and        from 2019 and also in        have not provided more
                                                        competitively sensitive.                2021, which if disclosed     narrow redactions despite
                                                                                                to competitors would help    Plaintiffs' requests.
                                                                                                inform their competitive
                                                                                                decision-making in the
                                                                                                Northeast.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description        Defendants' Motion To Seal             Defendants' Basis For       Plaintiffs' Objection
Number      Bates       Bates                                                                       Motion To Seal
DX-084    AA-         AA-NEA-    Network Strategy      American moves to redact portions      As explained in Section     Core to the NEA; High-
          NEA-        02468027   Board Meeting         of this exhibit, which is a Board      II.A. and II.C. of the      level; Historic;
          02981647               Presentation, dated   deck from July 2021 spanning 100       Motion, disclosure of       Overredacted.
                                 July 27, 2021         pages that was used by the             competitively sensitive
                                                       company to explain to the Board in     business information        This July 2021 strategy
                                                       detail American's future               regarding American's        deck includes high-level
                                                       commercial strategy. Despite its       future plans and granular   discussions about
                                                       sensitivity, American does not         financial data will harm    Defendants' inorganic
                                                       move to redact specific discussions    American's competitive      growth resulting from the
                                                       of the Northeast Alliance and          standing.                   NEA.
                                                       American's strategy with respect to
                                                       New York and Boston. However,
                                                       American moves to redact from
                                                       this presentation the most sensitive
                                                       portions that reveal granular and
                                                       competitively sensitive financial
                                                       data including yield and
                                                       profitability data broken out by
                                                       types of routes that inform how
                                                       American makes future capacity
                                                       decisions, revenue data specific to
                                                       American's partnerships and highly
                                                       sensitive future strategy and
                                                       network plans, including detailed
                                                       analyses of network plans by
                                                       airport, and future plans with
                                                       respect to existing or potential
                                                       partnerships.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description          Defendants' Motion To Seal             Defendants' Basis For       Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
DX-089    AA-         AA-NEA-    Network Strategy July   American moves to redact portions      As explained in Section     Core to the NEA; High-
          NEA-        02981750   Board Meeting, dated    of this exhibit, which is a Board      II.A. and II.C. of the      level; Historic;
          02981647               July 2021               deck from July 2021 spanning 100       Motion, disclosure of       Overredacted.
                                                         pages that was used by the             competitively sensitive
                                                         company to explain to the Board in     business information        This July 2021 strategy
                                                         detail American's future               regarding American's        deck, similar to DX-084,
                                                         commercial strategy. Despite its       future plans and granular   includes high-level
                                                         sensitivity, American does not         financial data will harm    discussions about
                                                         move to redact specific discussions    American's competitive      Defendants' inorganic
                                                         of the Northeast Alliance and          standing.                   growth resulting from the
                                                         American's strategy with respect to                                NEA.
                                                         New York and Boston. However,
                                                         American moves to redact from
                                                         this presentation the most sensitive
                                                         portions that reveal granular and
                                                         competitively sensitive financial
                                                         data including yield and
                                                         profitability data broken out by
                                                         types of routes that inform how
                                                         American makes future capacity
                                                         decisions, revenue data specific to
                                                         American's partnerships and highly
                                                         sensitive future strategy and
                                                         network plans, including detailed
                                                         analyses of network plans by
                                                         airport, and future plans with
                                                         respect to existing or potential
                                                         partnerships.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description         Defendants' Motion To Seal             Defendants' Basis For         Plaintiffs' Objection
Number      Bates       Bates                                                                        Motion To Seal
DX-093    AA-         AA-NEA-    Mutual Growth          American moves to redact portions      As explained in Section       Core to the NEA.
          NEA-        03103351   Incentive Agreement    of this exhibit, which is the          II.F. of the Motion, the
          03103322               between American       agreement between American and         very targeted redactions      Plaintiffs oppose redacting
                                 Airlines and JetBlue   JetBlue within the Northeast           cover only a few terms        Appendix E of the Mutual
                                 Airways, dated July    Alliance that governs the revenue      that Defendants do not        Growth Incentive
                                 15, 2020               sharing formula. American              view as relevant or           Agreement (MGIA) (DX-
                                                        recognizes the highly relevant         necessary to the issues at    093). This describes a
                                                        nature of this document and            trial and are competitively   hypothetical (not based on
                                                        proposes only a few targeted           sensitive.                    actual party data) and
                                                        redactions. These include: (1)                                       therefore not competitively
                                                        discussions of contingencies                                         sensitive. Defendants have
                                                        regarding potential changes to the                                   also not redacted the
                                                        scope of partnership that is not                                     MGIA formula of which
                                                        currently contemplated by the                                        the hypothetical example
                                                        NEA; (2) specific math formula                                       might reveal details.
                                                        regarding how to make
                                                        adjustments regarding flight
                                                        capacity for the purposes of the
                                                        MGIA calculation; (3) threshold
                                                        amount for an accounting one-off
                                                        item; and (4) a worked example of
                                                        the MGIA calculation that provides
                                                        detailed demonstration of all of the
                                                        different elements of the MGIA
                                                        formula. American does not
                                                        oppose Parties' experts developing
                                                        their own examples of MGIA
                                                        calculations based on all of the
                                                        different elements of the MGIA
                                                        American does not propose to seal,
                                                        but considers this worked example
                                                        to be proprietary.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description          Defendants' Motion To Seal             Defendants' Basis For          Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
DX-111    AA-         AA-NEA-    American's internal     American moves to seal this            The proposed redactions       High-level; Historic;
          NEA-        03192469   presentation titled     exhibit in its entirety. The exhibit   contain highly sensitive      Overredacted.
          03192426               "2021-2026 Network      is a five-year long-range network      future network plans that
                                 Five Year Plan" dated   strategy plan for American             if disclosed to competitors   This document is a five-
                                 Aug. 26, 2021           Airlines. American moves to            would harm American's         year network plan. It
                                                         redact parts of American's long-       competitive standing by       includes high-level, non-
                                                         range network plan from 2021 that      allowing competitors to       specific plans as well as
                                                         discuss American's long-term           plan their own network        historic information.
                                                         strategy, reference specific           with an understanding of
                                                         departure or other capacity            American's future
                                                         decisions that American plans to       strategy. The proposed
                                                         make in 2022 and beyond, and           redactions also contain
                                                         granular profitability data            highly sensitive
                                                         associated with specific routes or     profitability data that if
                                                         airports. American does not move       disclosed to competitors
                                                         to seal general discussions of         would allow competitors
                                                         American's past strategy or general    to make competitive
                                                         discussions of American's future       decisions on targeting
                                                         strategy with respect to New York,     growth armed with
                                                         Boston, and Philadelphia.              knowledge regarding
                                                                                                where American is weak
                                                                                                or strong. Finally,
                                                                                                American's redactions are
                                                                                                targeted - American does
                                                                                                not propose to seal
                                                                                                relevant information that
                                                                                                discuss background and
                                                                                                high-level strategy that
                                                                                                pertain to New York,
                                                                                                Boston, and Philadelphia.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
DX-115    AA-         AA-NEA-    Bilateral Special        American moves to seal the exhibit    As explained in Section      Core to the NEA.
          NEA-        03276790   Prorate Agreement -      in its entirety. The exhibit is an    II.F. of the Motion,
          03276774               Passenger between        agreement between American and        Defendants do not view       This document is the
                                 American Airlines and    JetBlue that details the              this agreement as relevant   Prorate Agreement
                                 JetBlue Airways,         technicalities of how American and    or necessary to the issues   between Defendants,
                                 dated August 6, 2020     JetBlue will implement the            at trial and view the        which directly relates to
                                                          Codeshare Agreement regarding         agreement as                 their contractual
                                                          service charges, surcharges, fare     competitively sensitive.     relationship. Defendants
                                                          rules, proration of codeshare                                      propose sealing this
                                                          commission, and other fees.                                        document entirely, and
                                                                                                                             have not provided more
                                                                                                                             narrow redactions despite
                                                                                                                             Plaintiffs' requests.
DX-127    AA-         AA-NEA-    B6 AA Bilateral          American moves to seal the exhibit    As explained in Section      Core to the NEA.
          NEA-        03294007   Special Prorate          in its entirety. The exhibit is an    II.F. of the Motion,
          03293988               Agreement -              agreement between American and        Defendants do not view       This document is the
                                 Passenger, Revision 4,   JetBlue that details the              this agreement as relevant   Prorate Agreement
                                 dated November 2,        technicalities of how American and    or necessary to the issues   between Defendants,
                                 2021                     JetBlue will implement the            at trial and view the        which directly relates to
                                                          Codeshare Agreement regarding         agreement as                 their contractual
                                                          service charges, surcharges, fare     competitively sensitive.     relationship. Defendants
                                                          rules, proration of codeshare                                      propose sealing this
                                                          commission, other fees.                                            document entirely, and
                                                                                                                             have not provided more
                                                                                                                             narrow redactions despite
                                                                                                                             Plaintiffs' requests.
DX-199    AA-         AA-NEA-    JetBlue/American         JetBlue moves to redact parts of      As explained in Section      Core to the NEA;
          NEA-        03325619   Northeast Alliance       this Northeast Alliance               II.A. of the motion,         Overredacted; Publicly
          03325598               Presentation by          presentation to State Attorney        disclosure of future         available.
                                 JetBlue to State         Generals that discuss non-stale       network plans will harm
                                 Attorney Generals,       competitively sensitive information   JetBlue's competitive        This February 2021 slide
                                 dated February 2021      concerning JetBlue's network          standing.                    deck desribes components
                                                          growth strategy in New York,                                       of the NEA, some of which
                                                          Boston, California, Florida, Texas,                                have since been publicly
                                                          and Washington, D.C. JetBlue                                       announced or disclosed.
                                                          does not move to seal other
                                                          pertinent information regarding the
                                                          NEA.

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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal            Defendants' Basis For      Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
DX-202    AA-         AA-NEA-    JetBlue's 2020           JetBlue moves to redact parts of      As explained in Section    Core to the NEA;
          NEA-        03325651   Strategic Network        JetBlue's network plan that discuss   II.A. of the motion,       Overredacted; Publicly
          03325626               Discussion               JetBlue's future capacity, fleet      disclosure of future       available.
                                 presentation regarding   strategy, and granular financial      network plans will harm
                                 Connie/E190              data. JetBlue does not move to seal   JetBlue's competitive      This July 2021 slide deck
                                 implications on future   general discussions of JetBlue's      standing.                  relates to which markets
                                 size & shape             past strategy.                        As explained in Section    American will fly under
                                                                                                II.C of the motion,        the NEA, and which
                                                                                                disclosure of granular     markets JetBlue will fly
                                                                                                financial data will harm   under the NEA. Some of
                                                                                                JetBlue's competitive      these decisions have since
                                                                                                standing.                  been publicly announced.
DX-266    JBLU000     JBLU000    JetBlue's May 2020       JetBlue moves to redact parts of      As explained in Section    Core to the NEA; High-
          26807       26832      Strategic Network        JetBlue's network plan that discuss   II.A. of the motion,       level; Historical.
                                 Discussion               JetBlue's future capacity, fleet      disclosure of future
                                 presentation regarding   strategy, and granular financial      network plans will harm    This document is a Spring
                                 Connie/E190              data. JetBlue does not move to seal   JetBlue's competitive      2020 (used internally and
                                 implications on future   general discussions of JetBlue's      standing.                  sent to the U.S.
                                 size & shape             past strategy.                        As explained in Section    Department of
                                                                                                II.C of the motion,        Transportation) deck
                                                                                                disclosure of granular     related to NEA projections
                                                                                                financial data will harm   through October 2022. It
                                                                                                JetBlue's competitive      discusses fleet allocation
                                                                                                standing.                  and network implications
                                                                                                                           critical to assessment of
                                                                                                                           the NEA. Redacted
                                                                                                                           information relates to
                                                                                                                           publicly annouced or
                                                                                                                           disclosed network changes.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description             Defendants' Motion To Seal             Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                           Motion To Seal
DX-271    JBLU000     JBLU000   JetBlue's May 2020         JetBlue moves to redact parts of       As explained in Section        Core to the NEA;
          40919       40935     "Project Connie            JetBlue's network plan that discuss    II.A. of the motion,           Overredacted.
                                Update" Network            JetBlue's future strategy associated   disclosure of future
                                Planning presentation      with specific airports and granular    network plans will harm        This slide deck relates to
                                                           financial data. JetBlue does not       JetBlue's competitive          Defendants' understand of
                                                           move to seal general discussions of    standing.                      the NEA. Plaintiffs agree
                                                           JetBlue's past strategy.               As explained in Section        to redact certain margin
                                                                                                  II.C of the motion,            percentages, but oppose
                                                                                                  disclosure of granular         Defendants' other
                                                                                                  financial data will harm       redactions.
                                                                                                  JetBlue's competitive
                                                                                                  standing.
DX-283    JBLU004     JBLU004   JetBlue's July 18, 2017    JetBlue moves to redact parts of       As explained in Section        High-level; Historic;
          84892       84916     Executive Crew             JetBlue's strategic plans and          II.A. of the motion,           Overredacted; Pre-NEA
                                Discussion                 granular financial data. JetBlue       disclosure of strategic        competition; Publicly
                                presentation on            does not move to seal general          planning documents,            available.
                                initiatives related to a   discussions of JetBlue's past          including those relating to
                                specific project           strategy.                              initiatives in response to a   This is a deck from July
                                launched in response                                              particular competitor, will    2017 related to JetBlue's
                                to a competitor's                                                 harm JetBlue's                 pre-NEA network plans.
                                growth in Boston                                                  competitive standing.          Those plans have been
                                                                                                  As explained in Section        publicly announced or
                                                                                                  II.C of the motion,            rendered moot by the
                                                                                                  disclosure of granular         NEA.
                                                                                                  financial data will harm
                                                                                                  JetBlue's competitive
                                                                                                  standing.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description             Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                       Motion To Seal
DX-290    JBLU006     JBLU006   JetBlue's January 11,      JetBlue moves to redact parts of   As explained in Section        High-level; Historic;
          79360       79391     2019 Working Team          JetBlue's strategic plans and      II.A. of the motion,           Overredacted; Pre-NEA
                                Meeting presentation       granular financial data. JetBlue   disclosure of strategic        competition; Publicly
                                related to a specific      does not move to seal general      planning documents,            available.
                                project launched in        discussions of JetBlue's past      including those relating to
                                response to a              strategy.                          initiatives in response to a   This is a deck from
                                competitor's growth in                                        particular competitor, will    January 2019, including
                                Boston                                                        harm JetBlue's                 information that relates to
                                                                                              competitive standing.          2019 plans, discusses high-
                                                                                              As explained in Section        level plans, and reflects
                                                                                              II.C of the motion,            historic data.
                                                                                              disclosure of granular
                                                                                              financial data will harm
                                                                                              JetBlue's competitive
                                                                                              standing.
DX-310    JBLU014     JBLU014   JetBlue's February 22,     JetBlue moves to redact parts of   As explained in Section        High-level; Historic;
          71771       71787     2019 presentation for      JetBlue's network planning and     II.A. of the motion,           Overredacted; Pre-NEA
                                corporate sales on         corporate strategy.                disclosure of strategic        competition; Publicly
                                Boston growth plan                                            planning documents,            available.
                                initiative for corporate                                      including those relating to
                                sales regarding                                               initiatives in response to a   This is a deck from
                                initiatives related to a                                      particular competitor, will    February 2019, including
                                specific project                                              harm JetBlue's                 information that relates to
                                launched in response                                          competitive standing.          2019 plans, discusses high-
                                to a competitor's                                                                            level plans, and reflects
                                growth in Boston                                                                             historic data. Plaintiffs do
                                                                                                                             not object to redacting
                                                                                                                             corporate customer names,
                                                                                                                             but oppose Defendants'
                                                                                                                             other redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description           Defendants' Motion To Seal            Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                        Motion To Seal
DX-313    JBLU016     JBLU016   JetBlue's January 11,    JetBlue moves to redact parts of      As explained in Section        High-level; Historic;
          90326       90357     2019 Working Team        JetBlue's strategic plans and         II.A. of the motion,           Overredacted; Pre-NEA
                                Meeting presentation     granular financial data. JetBlue      disclosure of strategic        competition.
                                related to a specific    does not move to seal general         planning documents,
                                project launched in      discussions of JetBlue's past         including those relating to    This is a deck from
                                response to a            strategy.                             initiatives in response to a   January 2019 related to
                                competitor's growth in                                         particular competitor, will    JetBlue's pre-NEA network
                                Boston                                                         harm JetBlue's                 plans. Those plans have
                                                                                               competitive standing.          been publicly announced
                                                                                               As explained in Section        or rendered moot by the
                                                                                               II.C of the motion,            NEA. The data on which
                                                                                               disclosure of granular         the deck is based is from
                                                                                               financial data will harm       2015 - 2018.
                                                                                               JetBlue's competitive
                                                                                               standing.
DX-315    JBLU019     JBLU019   JetBlue’s ticket data    JetBlue moves to seal this            This spreadsheet provides      Historic; Overredacted.
          68933       68936     for each domestic        exhibit. The exhibit is JetBlue's     competitors an
                                ticket sold between      raw ticket sales data for each        understanding of where         Defendants propose
                                January 1, 2017 and      domestic ticket sold between          marketing could be             sealing this in its entirety
                                July 1, 2020             January 1, 2017 and July 1, 2020.     targeted to capture more       and have not offered
                                                                                               of JetBlue's domestic          proposed redactions
                                                                                               customers and how to           despite Plaintiffs’ requests.
                                                                                               undercut JetBlue's pricing
                                                                                               stategy. Thus, disclosure
                                                                                               will harm JetBlue's
                                                                                               competitive standing as
                                                                                               explained in Section II of
                                                                                               the Motion.
DX-323    JBLU026     JBLU026   May 2020 email           JetBlue moves to redact               As explained in Section        Core to the NEA;
          15251       15255     thread among             information regarding propiertary     II.A. of the motion,           Overredacted.
                                Friedman, Lusso, and     route planning analyses. JetBlue      disclosure of non-stale
                                Laurence re: Connie      does not move to seal other           competitively sensitive        This document reflects
                                concerns                 pertinent information regarding the   corporate strategy             Defendants' proposals to
                                                         NEA.                                  information will harm          one another during NEA
                                                                                               JetBlue's competitive          negotiations relates to slot
                                                                                               standing.                      utilization and market
                                                                                                                              allocation under the NEA.


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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-327    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27810       27810     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-328    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27811       27811     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-329    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27812       27812     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-330    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27813       27813     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-332    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27815       27815     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-333    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27816       27816     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-335    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27818       27818     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-338    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27821       27821     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-340    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27823       27823     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.
DX-341    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section
          27824       27824     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.
                                                      future fleet strategy, including
                                                      unrealized future network growth   As explained in Section
                                                      strategy.                          II.A. of the motion,
                                                                                         disclosure of highly
                                                                                         sensitive, non-public
                                                                                         strategic planning
                                                                                         documents, including
                                                                                         those relating to
                                                                                         initiatives in response to a
                                                                                         particular competitor, will
                                                                                         harm JetBlue's
                                                                                         competitive standing.

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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-344    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27827       27827     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-345    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27828       27828     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-346    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27829       27829     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-347    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27830       27830     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-348    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27831       27831     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-350    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27833       27833     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description         Defendants' Motion To Seal         Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                 Motion To Seal
DX-353    JBLU026     JBLU026   Text message thread   JetBlue moves redact personal      As explained in Section        Core the the NEA;
          27836       27836     between Robin Hayes   phone numbers and parts of this    I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,   April 2020 text message thread     personal phone numbers         level.
                                dated April 7, 2020   between Robin Hayes and Scott      should be sealed in the
                                                      Laurence that discuss JetBlue's    interest of privacy.           This is part of a single text
                                                      future fleet strategy, including                                  conversation between
                                                      unrealized future network growth   As explained in Section        JetBlue's CEO and Head of
                                                      strategy.                          II.A. of the motion,           Revenue in April 2020
                                                                                         disclosure of highly           during NEA negotiations
                                                                                         sensitive, non-public          and discussing the
                                                                                         strategic planning             potential effect of the
                                                                                         documents, including           NEA. Plaintiffs do not
                                                                                         those relating to              oppose redacting phone
                                                                                         initiatives in response to a   numbers, other personal
                                                                                         particular competitor, will    identification information,
                                                                                         harm JetBlue's                 or specific airports or
                                                                                         competitive standing.          routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented. Plaintiffs do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description           Defendants' Motion To Seal           Defendants' Basis For           Plaintiffs' Objection
Number      Bates       Bates                                                                      Motion To Seal
DX-354    JBLU026     JBLU026   Text message thread      JetBlue moves redact personal        As explained in Section        Core the the NEA;
          27837       27837     between Robin Hayes      phone numbers and parts of this      I.A. of the motion,            Employee discourse; High-
                                and Scott Laurence,      April 2020 text message thread       personal phone numbers         level.
                                dated April 7, 2020      between Robin Hayes and Scott        should be sealed in the
                                                         Laurence that discuss JetBlue's      interest of privacy.           This is part of a single text
                                                         future fleet strategy, including                                    conversation between
                                                         unrealized future network growth     As explained in Section        JetBlue's CEO and Head of
                                                         strategy.                            II.A. of the motion,           Revenue in April 2020
                                                                                              disclosure of highly           during NEA negotiations
                                                                                              sensitive, non-public          and discussing the
                                                                                              strategic planning             potential effect of the
                                                                                              documents, including           NEA. Plaintiffs do not
                                                                                              those relating to              oppose redacting phone
                                                                                              initiatives in response to a   numbers, other personal
                                                                                              particular competitor, will    identification information,
                                                                                              harm JetBlue's                 or specific airports or
                                                                                              competitive standing.          routes for plans that have
                                                                                                                             not been announced or
                                                                                                                             implemented. Plaintiffs do
                                                                                                                             oppose Defendants' other
                                                                                                                             redactions.
DX-358    JBLU027     JBLU027   JetBlue internal         JetBlue moves to seal this June 1,   As explained in Section        Core to the NEA; High-
          29501       29503     memorandum               2020 internal memorandum that        II.A. of the motion,           Level; Overredacted.
                                outlining the internal   discusses JetBlue's future fleet     disclosure of highly
                                NEA economics and        strategy.                            sensitive, non-public          This is a high-level
                                network planning                                              strategic planning             summary of the NEA for
                                model, dated June 1,                                          documents, will harm           JetBlue executives
                                2020                                                          JetBlue's competitive          regarding modeling
                                                                                              standing.                      assumptions and planned
                                                                                                                             network changes.
                                                                                                                             Plaintiffs do not oppose
                                                                                                                             redacting specific forward-
                                                                                                                             looking forecast numbers
                                                                                                                             or unannounced routes, but
                                                                                                                             Plaintiffs do oppose
                                                                                                                             Defendants' other
                                                                                                                             redactions.


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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal            Defendants' Basis For          Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
DX-382    JBLU-       JBLU-      Email thread from       JetBlue moves to seal this             As explained in Section       High-level; Publicly
          LIT-        LIT-       Nirav Virani to the     September 27, 2021 email that          II.A. and II.C. of the        available.
          02003588    02003591   JetBlue SLT regarding   discusses non-stale competitively      Motion, disclosure of
                                 the FY 22 GSA City      sensitive information regarding        future plans and granular     This document relates to
                                 Pair Program            JetBlue's network strategy and         financial data will harm      JetBlue's government
                                 Overview, September     bidding tactics, as well as granular   JetBlue's competitive         travel contract bidding
                                 27, 2021                financial data.                        standing.                     process for fiscal year
                                                                                                                              2023. The redacted
                                                                                                                              portions contain publicly
                                                                                                                              available information
                                                                                                                              (https://cpsearch.fas.gsa.go
                                                                                                                              v/cpsearch/search.do)
                                                                                                                              regarding government
                                                                                                                              travel contract awards.
                                                                                                                              Plaintiffs do not object to
                                                                                                                              redacting specific current
                                                                                                                              bidding strategies and non-
                                                                                                                              public bid information, but
                                                                                                                              do oppose sealing the
                                                                                                                              document in its entirety.
                                                                                                                              Defendants have not
                                                                                                                              offered proposed
                                                                                                                              redactions despite
                                                                                                                              Plaintiffs’ requests.
DX-385    JBLU-       JBLU-      Email thread from       JetBlue moves to redact from this      As explained in Section       Overredacted.
          LIT-        LIT-       Barry McMenamin to      email thread regarding JetBlue's       i.B. of the Motion, certain
          02343258    02343261   Jeremy Blechman,        proposal to a corporate customer       corporate customer names      Plaintiffs do not oppose
                                 Nicholas Esparza, and   the name of the corporate customer     should be sealed in the       Defendants' proposed
                                 Robbie Mehoke           and the pricing terms offered to the   interest of privacy.          redactions of customer
                                 regarding Jetblue's     customer. JetBlue does not seal        As explained in Section       names/abbreviations and
                                 final proposal to a     other pertinent information            II.D. of the Motion,          employee identifications,
                                 corporate customer      regarding the terms of the offer to    specific pricing terms if     but do oppose redactions
                                 from December 2021      the corporate customer.                disclosed will harm           of the specific pricing
                                                                                                JetBlue's competitive         figures being discussed.
                                                                                                standing.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description          Defendants' Motion To Seal            Defendants' Basis For         Plaintiffs' Objection
Number      Bates       Bates                                                                        Motion To Seal
DX-386    JBLU-       JBLU-      Email chain between     JetBlue moves to redact from this     As explained in Section       Overredacted.
          LIT-        LIT-       Barry McMenamin,        email regarding BOS-DCA pricing       i.B. of the Motion, certain
          02357567    02357569   Robbie Mehoke,          for numerous corporate customers.     corporate customer names      Plaintiffs do not oppose
                                 Gregory Royall, and     JetBlue does not seal other           should be sealed in the       Defendants' proposed
                                 Ruth Medina             pertinent information regarding the   interest of privacy.          redactions of customer
                                 regarding BOS-DCA       terms of the offer to the corporate   As explained in Section       names/abbreviations and
                                 pricing for numerous    customers.                            II.D. of the Motion,          employee identifications,
                                 corporate customers                                           specific pricing terms if     but do oppose redactions
                                 from October 2021                                             disclosed will harm           of the specific pricing
                                                                                               JetBlue's competitive         figures being discussed.
                                                                                               standing.
DX-395    JBLU-       JBLU-      JetBlue Quarterly       JetBlue moves to redact               As explained in Section       Historic; Overredacted;
          LIT-        LIT-       Network Review slide    information regarding granular        II.A. of the motion,          Pre-NEA competition.
          02827598    02827642   deck, dated April 25,   profitability information, granular   disclosure of highly
                                 2017                    margin information and future         sensitive, non-public         This document is from
                                                         network planning in Boston,           strategic planning            April 2017. Defendants
                                                         Florida, New York, and the            documents, will harm          have not articulated to
                                                         Transcontinental market. JetBlue      JetBlue's competitive         Plaintiffs what is
                                                         does not move to seal other           standing. As explained        competitively sensitive
                                                         pertinent information regarding the   in Section II.C. of the       about information
                                                         NEA.                                  motion, disclosure of         contained therein.
                                                                                               granular financial data
                                                                                               will harm JetBlue's
                                                                                               competitive standing.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description            Defendants' Motion To Seal           Defendants' Basis For            Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
DX-458    JBLU-       JBLU-      Email from Nirav         JetBlue moves to redact the           As explained in Section         Publicly available.
          LIT-        LIT-       Virani to Jonathan       portions of this email containing     II.A., II.C, and II.D. of the
          04434165    04434166   Weiner and Evan          non-stale competitively sensitive     Motion, disclosure of           This July 2022 document
                                 Jarashow regarding       information regarding JetBlue's       highly sensitive, non-          relates to JetBlue's
                                 "JetBlue GSA FY23        network growth strategy and           public strategic planning       government travel contract
                                 Performance              bidding tactics, granular financial   documents, granular             bidding process for fiscal
                                 Summary," dated July     data related to JetBlue's business    financial data, and             year 2023. The redacted
                                 22, 2022                 with GSA, and JetBlue's pricing       specific pricing terms will     portions contain publicly
                                                          strategy with respect to the GSA      harm JetBlue's                  available information
                                                          City Pair Program.                    competitive standing.           (https://cpsearch.fas.gsa.go
                                                                                                                                v/cpsearch/search.do)
                                                                                                                                regarding government
                                                                                                                                travel contract awards.
                                                                                                                                Plaintiffs do not object to
                                                                                                                                redacting specific current
                                                                                                                                bidding strategies and non-
                                                                                                                                public bid information.
                                                                                                                                Plaintiffs do oppose
                                                                                                                                redacting contract awards
                                                                                                                                outcomes and statements
                                                                                                                                describing other airlines'
                                                                                                                                results.
DX-814                           Exhibit 2 of N. Miller   American moves to seal this           This map provides               Core to the NEA; High-
                                 Expert Report (June 9,   exhibit. The exhibit is a map of      competitors an                  level; Historic.
                                 2022)                    where American's customers reside     understanding of where
                                                          created using American's frequent     marketing could be              This document reflects
                                                          flier ticket data.                    targeted to capture more        expert, theoretical,
                                                                                                of American's customers.        empirical analysis of
                                                                                                Thus, disclosure will           aggregated and
                                                                                                harm American's                 anonymized frequent flyer
                                                                                                competitive standing as         ticket data from 2019.
                                                                                                explained in Section II of
                                                                                                the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description            Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                        Motion To Seal
DX-815                        Exhibit 3 of N. Miller   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                    where JetBlue's customers reside       understanding of where
                                                       created using JetBlue's ticket sales   marketing could be           This document reflects
                                                       data.                                  targeted to capture more     expert, theoretical,
                                                                                              of JetBlue's                 empirical analysis of
                                                                                              customers. Thus,             aggregated and
                                                                                              disclosure will harm         anonymized JetBlue ticket
                                                                                              JetBlue's competitive        data from 2019.
                                                                                              standing as explained in
                                                                                              Section II of the Motion.
DX-816                        Exhibit 4 of N. Miller   American moves to seal this            This table provides          Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a table        competitors an               level; Historic.
                              2022)                    indicating where American and          understanding of where
                                                       JetBlue customers reside.              marketing could be           This document reflects
                                                                                              targeted to capture more     expert, theoretical,
                                                                                              of American and JetBlue      empirical analysis of
                                                                                              customers. Thus,             aggregated and
                                                                                              disclosure will harm         anonymized JetBlue and
                                                                                              Defendants' competitive      American ticket data from
                                                                                              standing as explained in     2019.
                                                                                              Section II of the Motion.
DX-817                        Exhibit 5 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                    where American's customers reside      understanding of where
                                                       created using American's frequent      marketing could be           This document reflects
                                                       flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                              of American's customers.     empirical analysis of
                                                                                              Thus, disclosure will        aggregated and
                                                                                              harm American's              anonymized American
                                                                                              competitive standing as      ticket data from 2019.
                                                                                              explained in Section II of
                                                                                              the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description            Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                        Motion To Seal
DX-818                        Exhibit 6 of N. Miller   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                    where JetBlue's customers reside       understanding of where
                                                       created using JetBlue's ticket sales   marketing could be           This document reflects
                                                       data.                                  targeted to capture more     expert, theoretical,
                                                                                              of JetBlue's                 empirical analysis of
                                                                                              customers. Thus,             aggregated and
                                                                                              disclosure will harm         anonymized JetBlue ticket
                                                                                              JetBlue's competitive        data from 2019.
                                                                                              standing as explained in
                                                                                              Section II of the Motion.
DX-819                        Exhibit 7 of N. Miller   American moves to seal this            This table provides          Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a table        competitors an               level; Historic.
                              2022)                    indicating where American and          understanding of where
                                                       JetBlue customers reside.              marketing could be           This document reflects
                                                                                              targeted to capture more     expert, theoretical,
                                                                                              of American and JetBlue      empirical analysis of
                                                                                              customers. Thus,             aggregated and
                                                                                              disclosure will harm         anonymized American
                                                                                              Defendants' competitive      ticket data from 2019.
                                                                                              standing as explained in
                                                                                              Section II of the Motion.
DX-821                        Exhibit 9 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                    where American's customers reside      understanding of where
                                                       created using American's frequent      marketing could be           This document reflects
                                                       flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                              of American's customers.     empirical analysis of
                                                                                              Thus, disclosure will        aggregated and
                                                                                              harm American's              anonymized JetBlue and
                                                                                              competitive standing as      American ticket data from
                                                                                              explained in Section II of   2019.
                                                                                              the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description             Defendants' Motion To Seal            Defendants' Basis For       Plaintiffs' Objection
Number     Bates      Bates                                                                         Motion To Seal
DX-822                        Exhibit 10 of N. Miller   JetBlue moves to seal this             This map provides           Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an              level; Historic.
                              2022)                     where JetBlue's customers reside       understanding of where
                                                        created using JetBlue's ticket sales   marketing could be          This document reflects
                                                        data.                                  targeted to capture more    expert, theoretical,
                                                                                               of JetBlue's                empirical analysis of
                                                                                               customers. Thus,            aggregated and
                                                                                               disclosure will harm        anonymized JetBlue and
                                                                                               JetBlue's competitive       American ticket data from
                                                                                               standing as explained in    2019.
                                                                                               Section II of the Motion.
DX-823                        Exhibit 11 of N. Miller   American moves to seal this            This table provides         Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a table        competitors an              level; Historic.
                              2022)                     indicating where American and          understanding of where
                                                        JetBlue customers reside.              marketing could be          This document reflects
                                                                                               targeted to capture more    expert, theoretical,
                                                                                               of American and JetBlue     empirical analysis of
                                                                                               customers. Thus,            aggregated and
                                                                                               disclosure will harm        anonymized JetBlue and
                                                                                               Defendants' competitive     American ticket data from
                                                                                               standing as explained in    2019.
                                                                                               Section II of the Motion.
DX-824                        Exhibit 12 of N. Miller   JetBlue moves to seal this exhibit.    This map provides           Core to the NEA; High-
                              Expert Report (June 9,    This exhibit is a map of where         competitors an              level; Historic.
                              2022)                     Jetblue's customers reside created     understanding of where
                                                        using JetBlue's ticket sales data      marketing could be          This document reflects
                                                        from the JetBlue slide deck “New       targeted to capture more    expert, theoretical,
                                                        York & Washington DC Slot              of JetBlue's                empirical analysis of
                                                        Acquisition Plan,” dated January       customers. Thus,            aggregated and
                                                        2012                                   disclosure will harm        anonymized ticket data
                                                                                               JetBlue's competitive       from 2012.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description             Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                          Motion To Seal
DX-832                        Exhibit 20 of N. Miller   JetBlue moves to seal this exhibit.    As explained in Section      Core to the NEA; High-
                              Expert Report (June 9,    This exhibit is a table showing        II.A. of the motion,         level; Historic.
                              2022)                     granular financial information         disclosure of highly
                                                        concerning JetBlue's corporate         sensitive, non-public        This document reflects
                                                        strategy in certain domestic           information concerning       expert, theoretical,
                                                        markets.                               JetBlue's corporate          empirical analysis of
                                                                                               strategy will harm           aggregated and
                                                                                               JetBlue's competitive        anonymized data.
                                                                                               standing.
DX-845                        Exhibit 33 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where American's customers reside      understanding of where
                                                        created using American's frequent      marketing could be           This document reflects
                                                        flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                               of American's customers.     empirical analysis of
                                                                                               Thus, disclosure will        aggregated and
                                                                                               harm American's              anonymized American
                                                                                               competitive standing as      ticket data from 2019.
                                                                                               explained in Section II of
                                                                                               the Motion.
DX-846                        Exhibit 34 of N. Miller   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where JetBlue's customers reside       understanding of where
                                                        created using JetBlue's ticket sales   marketing could be           This document reflects
                                                        data.                                  targeted to capture more     expert, theoretical,
                                                                                               of JetBlue's                 empirical analysis of
                                                                                               customers. Thus,             aggregated and
                                                                                               disclosure will harm         anonymized JetBlue ticket
                                                                                               JetBlue's competitive        data from 2019.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description             Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                         Motion To Seal
DX-847                        Exhibit 35 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where American's customers reside      understanding of where
                                                        created using American's frequent      marketing could be           This document reflects
                                                        flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                               of American's customers.     empirical analysis of
                                                                                               Thus, disclosure will        aggregated and
                                                                                               harm American's              anonymized American
                                                                                               competitive standing as      ticket data from 2019.
                                                                                               explained in Section II of
                                                                                               the Motion.
DX-848                        Exhibit 36 of N. Miller   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where JetBlue's customers reside       understanding of where
                                                        created using JetBlue's ticket sales   marketing could be           This document reflects
                                                        data.                                  targeted to capture more     expert, theoretical,
                                                                                               of JetBlue's                 empirical analysis of
                                                                                               customers. Thus,             aggregated and
                                                                                               disclosure will harm         anonymized JetBlue ticket
                                                                                               JetBlue's competitive        data from 2019.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.
DX-849                        Exhibit 37 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where American's customers reside      understanding of where
                                                        created using American's frequent      marketing could be           This document reflects
                                                        flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                               of American's customers.     empirical analysis of
                                                                                               Thus, disclosure will        aggregated and
                                                                                               harm American's              anonymized American
                                                                                               competitive standing as      ticket data from 2019.
                                                                                               explained in Section II of
                                                                                               the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description             Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                         Motion To Seal
DX-850                        Exhibit 38 of N. Miller   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where JetBlue's customers reside       understanding of where
                                                        created using JetBlue's ticket sales   marketing could be           This document reflects
                                                        data.                                  targeted to capture more     expert, theoretical,
                                                                                               of JetBlue's                 empirical analysis of
                                                                                               customers. Thus,             aggregated and
                                                                                               disclosure will harm         anonymized JetBlue ticket
                                                                                               JetBlue's competitive        data from 2019.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.
DX-890                        Exhibit 35 of D. Lee      American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (July       exhibit. The exhibit is a map of       competitors an               level; Historic.
                              11, 2022)                 where American's and JetBlue's         understanding of where
                                                        customers reside using Defendants'     marketing could be           This document reflects
                                                        frequent flier ticket data.            targeted to capture more     expert, theoretical,
                                                                                               of American's and            empirical analysis of
                                                                                               JetBlue's customers.         aggregated and
                                                                                               Thus, disclosure will        anonymized data.
                                                                                               harm Defendants'
                                                                                               competitive standing as
                                                                                               explained in Section II of
                                                                                               the Motion.
DX-891                        Exhibit 36 of D. Lee      American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (July       exhibit. The exhibit is a map of       competitors an               level; Historic.
                              11, 2022)                 where American's and JetBlue's         understanding of where
                                                        customers reside using Defendants'     marketing could be           This document reflects
                                                        frequent flier ticket data.            targeted to capture more     expert, theoretical,
                                                                                               of American's and            empirical analysis of
                                                                                               JetBlue's customers.         aggregated and
                                                                                               Thus, disclosure will        anonymized data.
                                                                                               harm Defendants'
                                                                                               competitive standing as
                                                                                               explained in Section II of
                                                                                               the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description          Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                      Motion To Seal
DX-892                        Exhibit 37 of D. Lee   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (July    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              11, 2022)              where JetBlue's customers reside       understanding of where
                                                     created using JetBlue's ticket sales   marketing could be           This document reflects
                                                     data.                                  targeted to capture more     expert, theoretical,
                                                                                            of JetBlue's                 empirical analysis of
                                                                                            customers. Thus,             aggregated and
                                                                                            disclosure will harm         anonymized data.
                                                                                            JetBlue's competitive
                                                                                            standing as explained in
                                                                                            Section II of the Motion.
DX-893                        Exhibit 38 of D. Lee   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (July    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              11, 2022)              where American's customers reside      understanding of where
                                                     created using American's frequent      marketing could be           This document reflects
                                                     flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                            of American's customers.     empirical analysis of
                                                                                            Thus, disclosure will        aggregated and
                                                                                            harm American's              anonymized catchment
                                                                                            competitive standing as      data.
                                                                                            explained in Section II of
                                                                                            the Motion.
DX-894                        Exhibit 39 of D. Lee   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (July    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              11, 2022)              where American's and JetBlue's         understanding of where
                                                     customers reside using Defendants'     marketing could be           This document reflects
                                                     frequent flier ticket data.            targeted to capture more     expert, theoretical,
                                                                                            of American's and            empirical analysis of
                                                                                            JetBlue's customers.         aggregated and
                                                                                            Thus, disclosure will        anonymized data.
                                                                                            harm Defendants'
                                                                                            competitive standing as
                                                                                            explained in Section II of
                                                                                            the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description         Defendants' Motion To Seal           Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                    Motion To Seal
DX-910                        Exhibit 55 of D. Lee   American moves to seal this          This map provides            Core to the NEA; High-
                              Expert Report (July    exhibit. The exhibit is a map of     competitors an               level; Historic.
                              11, 2022)              where American's and JetBlue's       understanding of where
                                                     customers reside using Defendants'   marketing could be           This document reflects
                                                     frequent flier ticket data.          targeted to capture more     expert, theoretical,
                                                                                          of American's and            empirical analysis of
                                                                                          JetBlue's customers.         aggregated and
                                                                                          Thus, disclosure will        anonymized data.
                                                                                          harm Defendants'
                                                                                          competitive standing as
                                                                                          explained in Section II of
                                                                                          the Motion.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

 Exhibit   Starting    Ending       Description         Defendants' Motion To Seal             Defendants' Basis For         Plaintiffs' Objection
Number       Bates      Bates                                                                      Motion To Seal
PX0001     N/A        N/A       "Mutual Growth        American moves to redact portions      As explained in Section       Core to the NEA.
-b                              Incentive Agreement   of this exhibit, which is the          II.F. of the Motion, the
                                between American      agreement between American and         very targeted redactions      Plaintiffs oppose redacting
                                Airlines, Inc. and    JetBlue within the Northeast           cover only a few terms        Appendix E of the Mutual
                                JetBlue Airways       Alliance that governs the revenue      that Defendants do not        Growth Incentive
                                Corporation" -        sharing formula. American              view as relevant or           Agreement (MGIA) (DX-
                                Execution Version     recognizes the highly relevant         necessary to the issues at    093). This describes a
                                                      nature of this document and            trial and are competitively   hypothetical (not based on
                                                      proposes only a few targeted           sensitive.                    actual party data) and
                                                      redactions. These include: (1)                                       therefore not competitively
                                                      discussions of contingencies                                         sensitive. Defendants have
                                                      regarding potential changes to the                                   also not redacted the
                                                      scope of partnership that is not                                     MGIA formula of which
                                                      currently contemplated by the                                        the hypothetical example
                                                      NEA; (2) specific math formula                                       might reveal details.
                                                      regarding how to make
                                                      adjustments regarding flight
                                                      capacity for the purposes of the
                                                      MGIA calculation; (3) threshold
                                                      amount for an accounting one-off
                                                      item; and (4) a worked example of
                                                      the MGIA calculation that provides
                                                      detailed demonstration of all of the
                                                      different elements of the MGIA
                                                      formula. American does not
                                                      oppose Parties' experts developing
                                                      their own examples of MGIA
                                                      calculations based on all of the
                                                      different elements of the MGIA
                                                      American does not propose to seal,
                                                      but considers this worked example
                                                      to be proprietary.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal             Defendants' Basis For         Plaintiffs' Objection
Number      Bates       Bates                                                                           Motion To Seal
PX0197    AA-         AA-NEA-    Email thread between     American moves to redact parts of      As explained in Section       Historic; Overredacted;
          NEA-        00594234   Wim Reckelbus, Paul      this email communication that          II.D of the Motion,           Pre-NEA competition.
          00594230               Swartz, Marco Pena,      identify a corporate customer and      disclosure of corporate
                                 Ricki Reichard, Julie    discuss specific pricing terms and     customer names and            The document shows the
                                 Bass, Eleni              targeted bidding strategies for that   specific pricing terms and    impact of Boston
                                 Karandreas, and          corporate customer.                    targeted bidding strategies   competition on Boston-
                                 Brenda Whalen from                                              for that corporate            area sales agreement.
                                 June 2019 re:                                                   customer will harm            Redacting the customer
                                 customer for shuttle                                            American's competitive        name is acceptable.
                                 approval                                                        standing. The customer
                                                                                                 also has a privacy interest
                                                                                                 against disclosure in this
                                                                                                 trial.
PX0199    AA-         AA-NEA-    Email thread between     American moves to redact parts of      As explained in Section       Historic; Overredacted;
          NEA-        00594323   Cory Heckman, Wim        this email communication that          II.D of the Motion,           Pre-NEA competition.
          00594318               Reckelbus, Gabriela      identify a corporate customer and      disclosure of corporate
                                 Sposito, Joann Riedel,   discuss specific pricing terms and     customer names and            The document shows the
                                 Paul Swartz, BJ          targeted bidding strategies for that   specific pricing terms and    impact of Boston
                                 Hemeng Jr., Robert       corporate customer.                    targeted bidding strategies   competition on Boston-
                                 Happenstall, Ricki                                              for that corporate            area sales agreement.
                                 Reichard, and Brenda                                            customer will harm            Redacting the customer
                                 Whalen from March -                                             American's competitive        name is acceptable.
                                 September 2018 re:                                              standing. The customer
                                 customer Mgmt round                                             also has a privacy interest
                                 1 feedback. Final due                                           against disclosure in this
                                 Oct 1st - shuttle                                               trial.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal            Defendants' Basis For          Plaintiffs' Objection
Number      Bates       Bates                                                                          Motion To Seal
PX0200    AA-         AA-NEA-    Email thread between     American moves to redact certain      As explained in Section       Historic; Overredacted;
          NEA-        00594477   CRM System User,         parts of this email communication     II.D of the Motion,           Pre-NEA competition.
          00594475               Ricki Reichard, and      that identify a corporate customer    disclosure of corporate
                                 Paul Swartz from         and discuss specific pricing terms    customer names and            The document shows
                                 April 2019 re:           and targeted bidding strategies for   specific pricing terms and    competition between
                                 Approval Request for     a specific corporate customer.        targeted bidding strategies   JetBlue and American,
                                 ROW Deal - ROW-                                                for that corporate            including the impact of
                                 customer; contains one                                         customer will harm            Boston competition on
                                 attachment titled                                              American's competitive        Boston-area sales
                                 "Approval Request for                                          standing. The customer        agreement. Redacting the
                                 customer ROW"                                                  also has a privacy interest   customer name is
                                                                                                against disclosure in this    acceptable.
                                                                                                trial.
PX0216    AA-         AA-NEA-    Email thread between     American moves to seal this email     As explained in Section       Historic; Overredacted;
          NEA-        00614775   Richard Sien, Erik       chain, which is a discussion among    II.B. of the Motion,          Pre-NEA competition.
          00614771               Anton, Allysen           employees in the pricing              disclosure of pricing
                                 Roberts, and Allie       department of American regarding      strategy will harm            The document shows
                                 Plunk from March         how to execute a specific pricing     American's competitive        competition between
                                 2020 re: Spread B6       strategy in the context of certain    standing.                     JetBlue and American.
                                 Sale                     market conditions.                                                  Plaintiffs agree to redact
                                                                                                                              non-NEA routes.
PX0289    AA-         AA-NEA-    Email thread between     American moves to redact              As explained in Section       Core to the NEA.
          NEA-        01524111   James Kaleigh, Chad      competitively sensitive business      II.E of the Motion,
          01524104               Schweinzger, Jordan      information regarding certain         disclosure of information     Redactions concern key
                                 Pack, Matthew            features of American's proprietary    related to proprietary        calculations of revenue
                                 McElfresh, Anmol         Raven tool.                           forecasting tools will        expected from NEA.
                                 Bhargava, Massimo                                              harm American's
                                 Mancini, Farrell                                               competitive standing.
                                 Malone, Gustavo
                                 Bamberger, Maya
                                 Meidan, and Jataveda
                                 Dasgupta from May
                                 2020 re: Scenario 4
                                 Updates - Privileged
                                 and Confidential




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description            Defendants' Motion To Seal           Defendants' Basis For       Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
PX0294    AA-         AA-NEA-    Email thread between      American moves to redact             As explained in Section     Core to the NEA.
          NEA-        01524759   Chad Schweinzger,         competitively sensitive business     II.E of the Motion,
          01524750               Matthew McElfresh,        information regarding certain        disclosure of information   Redactions concern key
                                 Jordan Pack, Bruce        features of American's proprietary   related to proprietary      calculations of revenue
                                 Wark, James Kaleigh,      Raven tool.                          forecasting tools will      expected from NEA.
                                 Farrell Malone, and                                            harm American's
                                 Anmol Bhargava from                                            competitive standing.
                                 April 2020 re: Garland
                                 Initial Raven Results-
                                 Privileged and
                                 Confidential
PX0295    AA-         AA-NEA-    Email thread between      American moves to redact             As explained in Section     Core to the NEA.
          NEA-        01524786   Chad Schweinzger,         competitively sensitive business     II.E of the Motion,
          01524776               Matthew McElfresh,        information regarding certain        disclosure of information   Redactions concern key
                                 Jordan Pack, Bruce        features of American's proprietary   related to proprietary      calculations of revenue
                                 Wark, James Kaleigh,      Raven tool.                          forecasting tools will      expected from NEA.
                                 Farrell Malone, and                                            harm American's
                                 Anmol Bhargava from                                            competitive standing.
                                 April 2020 re: Garland
                                 Initial Raven Results -
                                 Privileged and
                                 Confidential
PX0296    AA-         AA-NEA-    Email thread between      American moves to redact             As explained in Section     Core to the NEA.
          NEA-        01524796   Matthew McElfresh,        competitively sensitive business     II.E of the Motion,
          01524788               Anmol Bhargava,           information regarding certain        disclosure of information   Redactions concern key
                                 Chad Schweinzger,         features of American's proprietary   related to proprietary      calculations of revenue
                                 Bruce Wark, James         Raven tool.                          forecasting tools will      expected from NEA.
                                 Kaleigh, Malone                                                harm American's
                                 Farrell, and Jordan                                            competitive standing.
                                 Pack from April 2020
                                 re: Garland Initial
                                 Raven Results -
                                 Privileged and
                                 Confidential




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description           Defendants' Motion To Seal             Defendants' Basis For        Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
PX0314    AA-         AA-NEA-    Email from Ronald       American moves to redact portions      As explained in Section     High-level; Historic.
          NEA-        01830297   Defeo to                of this exhibit, which is a Board      II.A. and II.C. of the
          01830184               "DL_AA_OFFICERS"        deck from July 2021 spanning 100       Motion, disclosure of       This email from July 2021
                                 list serv from July     pages that was used by the             competitively sensitive     relates to high-level
                                 2021 re: Board Decks;   company to explain to the Board in     business information        strategies and historical
                                 contains two            detail American's future               regarding American's        descriptions of markets,
                                 attachments titled      commercial strategy. Despite its       future plans and granular   such as passenger
                                 "20210724 July Board    sensitivity, American does not         financial data will harm    breakdowns from 2019.
                                 Meeting_preread_vFF.    move to redact specific discussions    American's competitive      Plaintiffs do not object to
                                 pdf" and                of the Northeast Alliance and          standing.                   redactions of specific
                                 "20210724_BOD_Exe       American's strategy with respect to                                margin percentages, but do
                                 cutive                  New York and Boston. However,                                      oppose Defendants' other
                                 Summarties_vFF.pdf"     American moves to redact from                                      redactions.
                                                         this presentation the most sensitive
                                                         portions that reveal granular and
                                                         competitively sensitive financial
                                                         data including yield and
                                                         profitability data broken out by
                                                         types of routes that inform how
                                                         American makes future capacity
                                                         decisions, revenue data specific to
                                                         American's partnerships and highly
                                                         sensitive future strategy and
                                                         network plans, including detailed
                                                         analyses of network plans by
                                                         airport, and future plans with
                                                         respect to existing or potential
                                                         partnerships.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting   Ending        Description          Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number      Bates      Bates                                                                       Motion To Seal
PX0358    AA-                  Standalone American     American moves to seal the exhibit    As explained in Section      Core to the NEA.
          NEA-                 Airlines spread sheet   in its entirety. The spreadsheet is   II.C. of the Motion,
          02832323             from January 2021       an excel file that includes revenue   disclosure of American       The Mutual Growth
                               titled "NEA MGIA        sharing calculation in the NEA that   and JetBlue revenue data     Incentive Agreement is a
                               Model"; contains 47     apply highly sensitive revenue data   will harm American's         central component of the
                               tabs.                   from American and JetBlue and         competitive standing.        NEA.
                                                       reveal exactly how those revenue      Additionally, as explained
                                                       data is imputed, analyzed, and        in Section II.E. of the
                                                       calculated for the purpose of the     Motion, disclosure of this
                                                       revenue sharing in the MGIA.          detailed spreadsheet that
                                                                                             reveals exactly how
                                                                                             American analyzes
                                                                                             revenue data for the
                                                                                             purpose of revenue
                                                                                             sharing reveals
                                                                                             proprietary and non-
                                                                                             public business
                                                                                             information that will harm
                                                                                             American's competitive
                                                                                             standing.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal            Defendants' Basis For          Plaintiffs' Objection
Number      Bates       Bates                                                                        Motion To Seal
PX0363    AA-         AA-NEA-    Standalone American      American moves to redact from         As explained in Sections      Core to the NEA; High-
          NEA-        02937226   Airlines slide deck      this exhibit, titled "Domestic        II.A and B of the Motion,     level; Overredacted.
          02937201               from April 2021 titled   Partnerships and RM," information     disclosure of future plans
                                 "Domestic                regarding American's non-stale and    and pricing strategies will   This is a high-level deck
                                 Partnerships and RM"     competitively sensitive future        harm American's               on American's airline
                                                          network plans, partnership plans,     competitive standing.         partnerships, and includes
                                                          and pricing strategies for specific                                 a summary of why
                                                          routes.                                                             American enters those
                                                                                                                              partnerships. It also
                                                                                                                              contains a description of
                                                                                                                              the NEA. Plaintiffs do not
                                                                                                                              oppose redacting specific
                                                                                                                              pricing strategies (although
                                                                                                                              matching fares of the
                                                                                                                              operating airline on
                                                                                                                              codeshare routes is
                                                                                                                              standard industry practice).




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description          Defendants' Motion To Seal             Defendants' Basis For       Plaintiffs' Objection
Number      Bates       Bates                                                                        Motion To Seal
PX0370    AA-         AA-NEA-    Email thread between   American moves to redact portions      As explained in Section     High-level; Publicly
          NEA-        03097938   Massimo Mancini and    of this exhibit, which is a Board      II.A. and II.C. of the      available.
          03097838               Vasu Raja from         deck from July 2021 spanning 100       Motion, disclosure of
                                 August 2021 re: BoD    pages that was used by the             competitively sensitive     This is email from August
                                 PPT; contains one      company to explain to the Board in     business information        2021. Defendants
                                 attachment titled      detail American's future               regarding American's        proposed redactions relate
                                 "2Q21 BOD (7.27.21)    commercial strategy. Despite its       future plans and granular   to material drawn from
                                 - Presentation         sensitivity, American does not         financial data will harm    public sources and high-
                                 Deck.pptx"             move to redact specific discussions    American's competitive      level plans.
                                                        of the Northeast Alliance and          standing.
                                                        American's strategy with respect to
                                                        New York and Boston. However,
                                                        American moves to redact from
                                                        this presentation the most sensitive
                                                        portions that reveal granular and
                                                        competitively sensitive financial
                                                        data including yield and
                                                        profitability data broken out by
                                                        types of routes that inform how
                                                        American makes future capacity
                                                        decisions, revenue data specific to
                                                        American's partnerships and highly
                                                        sensitive future strategy and
                                                        network plans, including detailed
                                                        analyses of network plans by
                                                        airport, and future plans with
                                                        respect to existing or potential
                                                        partnerships.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description          Defendants' Motion To Seal          Defendants' Basis For        Plaintiffs' Objection
Number      Bates       Bates                                                                     Motion To Seal
PX0372    AA-         AA-NEA-    Series of text         American moves to redact personal   As explained in Section      Core to the NEA;
          NEA-        03110071   messages exchange      phone numbers, competitively        II.E of the Motion,          Employee discourse.
          03110008               between Chad           sensitive business information      disclosure of information
                                 Schweinzger, Anmol     regarding inputs to and outputs     related to proprietary       This is a text exchange
                                 Bhargava, and Jordan   from American's proprietary Raven   forecasting tools will       between American
                                 Pack from May 2020     tool and financial data regarding   harm American's              employees evaluating the
                                                        revenue at certain airports.        competitive standing.        NEA benefits in May
                                                                                            Additionally, as explained   2020. Redactions relate to
                                                                                            in section I.A of the        key calculations of revenue
                                                                                            Motion, personal phone       expected from NEA.
                                                                                            numbers should be sealed     Plaintiffs do not oppose
                                                                                            for privacy interests.       redacting phone numbers,
                                                                                                                         other personal
                                                                                                                         identification information,
                                                                                                                         or specific airports or
                                                                                                                         routes for plans that have
                                                                                                                         not been announced or
                                                                                                                         implemented, but do
                                                                                                                         oppose Defendants' other
                                                                                                                         redactions.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description         Defendants' Motion To Seal          Defendants' Basis For        Plaintiffs' Objection
Number      Bates       Bates                                                                    Motion To Seal
PX0373    AA-         AA-NEA-    Series of text        American moves to redact personal   As explained in Section      Core to the NEA;
          NEA-        03110071   messages between      phone numbers, competitively        II.E of the Motion,          Employee discourse.
          03110025               Jordan Pack and       sensitive business information      disclosure of information
                                 Anmol Bhargava from   regarding inputs to and outputs     related to proprietary       This is a text exchange
                                 May 2020              from American's proprietary Raven   forecasting tools will       between American
                                                       tool and financial data regarding   harm American's              employees evaluating the
                                                       revenue at certain airports.        competitive standing.        NEA benefits in May
                                                                                           Additionally, as explained   2020. Redactions relate to
                                                                                           in section I.A of the        key calculations of revenue
                                                                                           Motion, personal phone       expected from NEA.
                                                                                           numbers should be sealed     Plaintiffs do not oppose
                                                                                           for privacy interests.       redacting phone numbers,
                                                                                                                        other personal
                                                                                                                        identification information,
                                                                                                                        or specific airports or
                                                                                                                        routes for plans that have
                                                                                                                        not been announced or
                                                                                                                        implemented, but do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal             Defendants' Basis For         Plaintiffs' Objection
Number      Bates       Bates                                                                          Motion To Seal
PX0375    AA-         AA-NEA-    Series of text           American moves to redact personal      As explained in Section      Core to the NEA;
          NEA-        03112908   messages between         phone numbers, competitively           II.E of the Motion,          Employee discourse.
          03112790               Chad Schweinzger,        sensitive business information         disclosure of information
                                 Jordan Pack, and         regarding the functioning of           related to proprietary       This is a text exchange
                                 Anmol Bhargava from      American's proprietary Raven tool.     forecasting tools will       between American
                                 May 2020                                                        harm American's              employees evaluating the
                                                                                                 competitive standing.        NEA benefits in May
                                                                                                 Additionally, as explained   2020. Redactions relate to
                                                                                                 in section I.A of the        key calculations of revenue
                                                                                                 Motion, personal phone       expected from NEA.
                                                                                                 numbers should be sealed     Plaintiffs do not oppose
                                                                                                 for privacy interests.       redacting phone numbers,
                                                                                                                              other personal
                                                                                                                              identification information,
                                                                                                                              or specific airports or
                                                                                                                              routes for plans that have
                                                                                                                              not been announced or
                                                                                                                              implemented, but do
                                                                                                                              oppose Defendants' other
                                                                                                                              redactions.
PX0402      B6-                  Transcript of the        JetBlue moves to redact                As explained in Section      High-level; Historic;
           UADL-                 Videotaped Deposition    confidential and proprietary tools     II.E of the motion,          Overredacted; Pre-NEA
          00000182               of Scott Laurence, In    and methods that JetBlue employs       disclosure of proprietary    competition.
                                 Re Civil Investigative   in making strategic business           tools used to make
                                 Demand: United           decisions. JetBlue does not move       strategic decisions will     Defendants have not
                                 Airlines - Delta Air     to seal historic business and market   harm JetBlue's               articulated to Plaintiffs any
                                 Lines Slot Transaction   information.                           competitive standing.        basis for sealing or
                                 from October 2015                                                                            redacting this 2015
                                                                                                                              transcript.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending         Description             Defendants' Motion To Seal               Defendants' Basis For        Plaintiffs' Objection
Number      Bates      Bates                                                                              Motion To Seal
PX0444      DOJ-       DOJ-     Transcript of the         JetBlue moves to redact                   As explained in Section     High-level; Historic;
            NEA-       NEA-     Videotaped Deposition     confidential and proprietary tools        II.E of the motion,         Overredacted; Pre-NEA
          00001416   00001695   of Scott Laurence in      and methods that JetBlue employs          disclosure of proprietary   competition.
                                the matter of United      in making strategic business              tools used to make
                                States of America et al   decisions. JetBlue does not move          strategic decisions will    Defendants have not
                                v. US Airways Group,      to seal historic business and market      harm JetBlue's              articulated to Plaintiffs any
                                Inc. and AMR              information.                              competitive standing.       basis for sealing or
                                Corporation (Case No.                                                                           redacting this 2013
                                1:13-cv-01236) dated                                                                            transcript.
                                October 18, 2013
PX0445      DOJ-       DOJ-     Transcript of the         JetBlue moves to redact                   As explained in Section     High-level; Historic;
            NEA-       NEA-     Videotaped Deposition     confidential and proprietary tools        II.A. of the motion,        Overredacted; Pre-NEA
          00001696   00001934   of Scott Laurence in      and methods that JetBlue employs          disclosure of corporate     competition.
                                the matter of United      in making strategic business              strategy will harm
                                States of America v.      decisions and corporate strategy.         JetBlue's competitive       Defendants have not
                                United Continental        JetBlue does not move to seal             standing.                   articulated to Plaintiffs any
                                Holdings, Inc. and        historic business and market              As explained in Section     basis for sealing or
                                Delta Airlines, Inc.      information.                              II.E of the motion,         redacting this 2016
                                (Case No. 2:15-cv-                                                  disclosure of proprietary   transcript.
                                07992) dated March                                                  tools used to make
                                31, 2016                                                            strategic decisions will
                                                                                                    harm JetBlue's
                                                                                                    competitive standing.
PX0468      DOJ-                August 14, 2020           JetBlue moves to seal this exhibit        As explained in Section     Historic; Overredacted;
            NEA-       DOJ-     JetBlue letter to UK      in its entirety. This letter relates to   II.A. of the motion,        Publicly available.
          00002629     NEA-     Competition &             JetBlue's growth strategy in the          disclosure of future
                     00002642   Markets Authority         UK market, including non-stale            network plans will harm     It has been publicly
                                regarding JetBlue's       competitively sensitive information       JetBlue's competitive       announced that JetBlue
                                comments in response      regarding JetBlue's network               standing.                   was not awarded remedy
                                to proposal to issue an   growth strategy and fleet planning                                    slots at London Heathrow,
                                interim measures          for the UK market.                                                    and that JetBlue has
                                decision expending                                                                              entered service to London.
                                JetBlue's current terms                                                                         This document is from
                                of Slot Release                                                                                 March 2019.
                                Agreements.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending         Description             Defendants' Motion To Seal               Defendants' Basis For      Plaintiffs' Objection
Number      Bates      Bates                                                                              Motion To Seal
PX0469      DOJ-       DOJ-     August 14, 2020           JetBlue moves to seal this exhibit        As explained in Section    Historic; Overredacted;
            NEA-       NEA-     JetBlue letter to UK      in its entirety. This letter relates to   II.A. of the motion,       Publicly available.
          00002643   00002648   Competition &             JetBlue's growth strategy in the          disclosure of future
                                Markets Authority         UK market, including non-stale            network plans will harm    It has been publicly
                                regarding JetBlue's       competitively sensitive information       JetBlue's competitive      announced that JetBlue
                                comments in response      regarding JetBlue's network               standing.                  was not awarded remedy
                                to proposal to issue an   growth strategy and fleet planning                                   slots at London Heathrow.
                                interim measures          for the UK market.                                                   JetBlue has entered service
                                decision expending                                                                             to London. This document
                                JetBlue's current terms                                                                        is from August 2020.
                                of Slot Release
                                Agreements.
PX0470      DOJ-       DOJ-     June 3, 2020 JetBlue      JetBlue moves to seal this exhibit        As explained in Section    Historic; Overredacted;
            NEA-       NEA-     letter to UK              in its entirety. This letter relates to   II.A. of the motion,       Publicly available.
          00002649   00002709   Competition &             JetBlue's growth strategy in the          disclosure of future
                                Markets Authority         UK market, including non-stale            network plans will harm    It has been publicly
                                regarding JetBlue's       competitively sensitive information       JetBlue's competitive      announced that JetBlue
                                comments in response      regarding JetBlue's network               standing.                  was not awarded remedy
                                to notice of Intention    growth strategy and fleet planning        As explained in Section    slots at London Heathrow.
                                to Accept Binding         for the UK market, as well as             II.C. of the motion,       JetBlue has entered service
                                Commitments Offered       related profitability information.        disclosure of granular     to London. This document
                                by International                                                    financial data will harm   is from June 2020.
                                Consolidated Airlines                                               JetBlue's competitive
                                Group and American                                                  standing.
                                Airlines in relation to
                                the Atlantic Joint
                                Business Agreement.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending         Description            Defendants' Motion To Seal             Defendants' Basis For           Plaintiffs' Objection
Number      Bates      Bates                                                                           Motion To Seal
PX0484    JBLU000    JBLU000   August 2019                JetBlue moves to seal this             As explained in Section        High-level; Historic;
           03876      03891    presentation on            presentation in its entirety. This     II.A. of the motion,           Publicly available.
                               initiatives related to a   presentation relates to a project      disclosure of highly
                               specific project           that was launched in response to       sensitive, non-public          This deck (from August
                               launched in response       one of JetBlue's competitors. This     strategic planning             2019) discusses routes that
                               to a competitor's          presentation contains detailed         documents, including           have since been announced
                               growth in Boston           information about various strategic    those relating to              or entered. A similar
                                                          initiatives related to JetBlue's       initiatives in response to a   version (PX0508) contains
                                                          network, operations, infrastructure,   particular competitor, will    lesser redactions.
                                                          marketing, corporate sales, revenue    harm JetBlue's
                                                          management, technology that are        competitive standing.
                                                          relevant today.
PX0508    JBLU000    JBLU000   Email thread between       JetBlue moves to redact limited        As explained in Section        High-level; Historic;
           48360      48364    Chantal Van                information outlining commercial       II.A. of the motion,           Publicly available.
                               Wijnbergen, Andrea         objectives and strategies related to   disclosure of highly
                               Lusso, Dave Clark,         a specific project that was            sensitive, non-public          These materials are from
                               Andrew Parker,             launched in response to one of         strategic planning             January 2020. They
                               Robbie Mehoke, Scott       JetBlue's competitors. JetBlue         documents, including           discuss routes that have
                               Laurence, Elizabeth        does not seek to redact any plans      those relating to              since been announced or
                               Windram, Jack              that have already been                 initiatives in response to a   entered.
                               Massey, Joanna             implemented and made public.           particular competitor, will
                               Geraghty, and Robin                                               harm JetBlue's
                               Hayes from January                                                competitive standing.
                               2020 re: BOS-NYC
                               hourly (from Robin);
                               contains one
                               attachment titled
                               "2001 Revere
                               Shuttle.pptx"




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description           Defendants' Motion To Seal            Defendants' Basis For          Plaintiffs' Objection
Number      Bates      Bates                                                                       Motion To Seal
PX0538    JBLU002    JBLU002   Email from Dave          JetBlue moves to redact portions of   As explained in Section       High-level; Historic.
           50498      50517    Clark to Joanna          the attachment, which contains        II.B and II.E of the
                               Geraghty, Scott          information regarding JetBlue's       motion, disclosure of         This deck, from January
                               Laurence, Andrew         proprietary pricing and inventory     highly sensitive, non-        2020, describes airline
                               Parker, Andrea Lusso,    tools, processes and strategies.      public pricing strategy       industry pricing.
                               Evan Jarashow,                                                 and proprietary tools will
                               Jeremy Blechman,                                               harm JetBlue's
                               BlueInventory&Fares                                            competitive standing.
                               Leadership, Nicholas
                               Alemann, Richard
                               Johns, and Nicholas
                               Han from January
                               2020 re: Ben Baldanza
                               Meeting Agenda and
                               slides; contains one
                               attachment titled "Ben
                               Meeting v8.pptx"
PX0545    JBLU003    JBLU003   Email from JetBlue       JetBlue moves to redact the           As explained in Section       Historic; Overredacted;
           74628      74637    Sales Team to Dave       customer name and                     II.D. of the Motion,          Pre-NEA competition.
                               Clark from April 2020    discount/prcing terms from the        disclosure of customer
                               attaching corporate      attachment to the exhibit, which is   lists and highly sensitive,   This is a corporate
                               discount agreement       a corporate discount agreement        non-public pricing and        customer contract for air
                               with a corporate         between JetBlue and one of its        discount information will     travel from April 2020. It
                               customer                 corporate customers.                  harm JetBlue's                relates to anticipated
                                                                                              competitive standing.         testimony in this case.
                                                                                                                            Plaintiffs do not object to
                                                                                                                            redacting customer names,
                                                                                                                            but do oppose Defendants'
                                                                                                                            other redactions.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending       Description          Defendants' Motion To Seal            Defendants' Basis For          Plaintiffs' Objection
Number      Bates      Bates                                                                      Motion To Seal
PX0546    JBLU003    JBLU003   Email from JetBlue     JetBlue moves to redact the           As explained in Section       Historic; Overredacted;
           79952      79963    Sales Team to Dave     customer name and                     II.D. of the Motion,          Pre-NEA competition.
                               Clark from September   discount/prcing terms from the        disclosure of customer
                               2019 attaching         attachment to the exhibit, which is   lists and highly sensitive,   This is a corporate
                               corporate discount     a corporate discount agreement        non-public pricing and        customer contract for air
                               agreement with a       between JetBlue and one of its        discount information will     travel from September
                               corporate customer     corporate customers.                  harm JetBlue's                2019. It relates to
                                                                                            competitive standing.         anticipated testimony in
                                                                                                                          this case. Plaintiffs do not
                                                                                                                          object to redacting
                                                                                                                          customer names, but do
                                                                                                                          oppose Defendants' other
                                                                                                                          redactions.
PX0547    JBLU004    JBLU004   Email from JetBlue     JetBlue moves to redact the           As explained in Section       Historic; Overredacted;
           28778      28788    Sales Team to Dave     customer name and                     II.D. of the Motion,          Pre-NEA competition.
                               Clark from October     discount/prcing terms from the        disclosure of customer
                               31, 2019 attaching     attachment to the exhibit, which is   lists and highly sensitive,   This is a corporate
                               corporate discount     a corporate discount agreement        non-public pricing and        customer contract for air
                               agreement with a       between JetBlue and one of its        discount information will     travel from April 2020. It
                               corporate customer     corporate customers.                  harm JetBlue's                relates to anticipated
                                                                                            competitive standing.         testimony in this case.
                                                                                                                          Plaintiffs do not object to
                                                                                                                          redacting customer names,
                                                                                                                          but do oppose Defendants'
                                                                                                                          other redactions.
PX0575    JBLU008    JBLU008   November/December      JetBlue moves to seal this email      As explained in Section       Overredacted; Publicly
           88108      88109    2019 email thread      thread regarding JetBlue’s            II.A. of the motion,          available.
                               between Robin Hayes    corporate strategy, including non-    disclosure of non-stale
                               and Tracy Lawlor       stale competitively sensitive         competitively sensitive       This document relates to
                               regarding Project      information concerning a pending      corporate strategy will       the Spirit transaction,
                               Exchange Updated;      corporate transaction.                harm JetBlue's                which has since been
                               contains two                                                 competitive standing.         publicly announced.
                               attachments titled                                                                         Limited redactions of
                               "Proj. Exchange_Dec                                                                        numbers would be
                               12 Board Read-                                                                             sufficient. The document
                               out.pdf" and                                                                               is from December 2019.
                               "ATT00001.htm"


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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description            Defendants' Motion To Seal           Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                        Motion To Seal
PX0575    JBLU008    JBLU008   December 12, 2019         JetBlue moves to seal this slide     As explained in Section       Overredacted; Publicly
           88110      88151    JetBlue Presentation,     deck in its entirety that contains   II.A. of the motion,          available.
                               "Board of Directors       contain non-stale competitively      disclosure of
                               Meeting Project           sensitive information regarding      competitively sensitive       This document relates to
                               Exchange" regarding a     JetBlue’s corporate strategy and     corporate strategy will       the Spirit transaction,
                               potential acquisition.    granular financial data concerning   harm JetBlue's                which has since been
                                                         a pending corporate transaction.     competitive standing.         publicly announced.
                                                                                              As explained in Section       Limited redactions of
                                                                                              II.C. of the motion,          numbers would be
                                                                                              disclosure of granular        sufficient. The document
                                                                                              financial data will harm      is from December 2019.
                                                                                              JetBlue's competitive
                                                                                              standing.
PX0649    JBLU014    JBLU014   Email thread between      JetBlue moves to redact the          As explained in Section       Historic; Overredacted;
           33527      33530    Barry McMenamin           promotional terms that were          II.D. of the Motion,          Pre-NEA competition.
                               and corporate             offered to a prospective customer    disclosure of customer
                               customer from August      and the corporate customer name.     lists and highly sensitive,   This document describes a
                               - September 2019 re:                                           non-public pricing and        promotion for a corporate
                               JetBlue checking in                                            discount information will     customer from August
                                                                                              harm JetBlue's                2019. Plaintiffs do not
                                                                                              competitive standing.         object to redaction of name
                                                                                                                            of corporate customer, but
                                                                                                                            do oppose Defendants'
                                                                                                                            other redactions.
PX0650    JBLU014    JBLU014   Email thread between      JetBlue moves to redact the          As explained in Section       High-level; Historic;
           35648      35652    Tom Lloyd, Barry          corporate customer name.             II.D. of the Motion,          Overredacted; Pre-NEA
                               McMenamin, "Sys                                                disclosure of customer        competition.
                               Ops Directors" list                                            lists will harm JetBlue's
                               serv, Roberta Mehoke,                                          competitive standing.         This document relates to a
                               Dave Clark, and                                                                              route that a corporate
                               corporate customer                                                                           customer flew in April
                               from April 2019 re:                                                                          2019. Plaintiffs do not
                               [Corporate Customer]:                                                                        object to redaction of name
                               VVVIP - Chairman /                                                                           of corporate customer, but
                               CEO - Wednesday,                                                                             do oppose Defendants'
                               April 17 - Philadelphia                                                                      other redactions.
                               to Boston - Flight
                               #2460

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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description           Defendants' Motion To Seal            Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                         Motion To Seal
PX0653    JBLU014    JBLU014   Email thread between     JetBlue moves to redact the           As explained in Section       Historic; Overredacted;
           50286      50289    Barry McMenamin          promotional terms that were           II.D. of the Motion,          Pre-NEA competition.
                               and corporate            offered to a customer, the            disclosure of customer
                               customers from           corporate customer name, and          lists, pricing and discount   This document relates to a
                               December 2019            personal information related to the   information will harm         promotion for corporate
                               regarding promotinal     customer's frequent flyer account.    JetBlue's competitive         customer from December
                               terms offered                                                  standing. Additionally, as    2019. Plaintiffs do not
                                                                                              explained in Section I,       object to redaction of name
                                                                                              protection of privacy         of corporate customer, but
                                                                                              should be weighed against     do oppose Defendants'
                                                                                              the presumption of access.    other redactions.
PX0658    JBLU014    JBLU014   Email thread between     JetBlue moves to redact               As explained in Section       Historic; Overredacted;
           61210      61213    Barry McMenamin,         information related to specific       II.D. of the Motion,          Pre-NEA competition.
                               Robbie Mehoke,           pricing and discount terms            disclosure of customer
                               Gregory Royall and       provided to a corporate customer      lists and highly sensitive,   This document includes
                               corporate customers      as well as the corporate customer     non-public pricing and        description of pre-NEA
                               from September 2018      name.                                 discount information will     competition and offer for
                               regarding negotiations                                         harm JetBlue's                corporate customer from
                               around corporate                                               competitive standing.         Septebmer 2018. Plaintiffs
                               discount agreement                                                                           do not object to redaction
                                                                                                                            of name of corporate
                                                                                                                            customer, but do oppose
                                                                                                                            Defendants' other
                                                                                                                            redactions.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description          Defendants' Motion To Seal          Defendants' Basis For          Plaintiffs' Objection
Number      Bates      Bates                                                                     Motion To Seal
PX0659    JBLU014    JBLU014   Email thread between    JetBlue moves to redact             As explained in Section       Historic; Overredacted;
           66018      66020    Robbie Mehoke and       information related to specific     II.D. of the Motion,          Pre-NEA competition.
                               Barry McMenamin         pricing and discount terms          disclosure of customer
                               from January 2020       provided to a corporate customer    lists and highly sensitive,   This document relates to
                               regarding renewal of    as well as the corporate customer   non-public pricing and        fare offers for a corporate
                               corporate discount      name.                               discount information will     customer from January
                               agreement with                                              harm JetBlue's                2020. Language in the
                               corporate customer                                          competitive standing.         email reflects pre-NEA
                                                                                                                         competition between
                                                                                                                         American and JetBlue.
                                                                                                                         Plaintiffs do not object to
                                                                                                                         redaction of name of
                                                                                                                         corporate customer, but do
                                                                                                                         oppose Defendants' other
                                                                                                                         redactions.
PX0660    JBLU014    JBLU014   Email thread between    JetBlue moves to redact             As explained in Section       Historic; Overredacted;
           70513      70521    Barry McMenamin         information related to specific     II.D. of the Motion,          Pre-NEA competition.
                               and corporate           pricing and discount terms          disclosure of customer
                               customers from          provided to a corporate customer    lists and highly sensitive,   This document relates to
                               February - April 2019   as well as the corporate customer   non-public pricing and        fare offers for a corporate
                               regarding updated       name.                               discount information will     customer from February
                               corporate discount                                          harm JetBlue's                2019. Language in the
                               agreement                                                   competitive standing.         email reflects pre-NEA
                                                                                                                         competition between
                                                                                                                         American and JetBlue.
                                                                                                                         Plaintiffs do not object to
                                                                                                                         redaction of name of
                                                                                                                         corporate customer, but do
                                                                                                                         oppose Defendants' other
                                                                                                                         redactions.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending       Description          Defendants' Motion To Seal          Defendants' Basis For          Plaintiffs' Objection
Number      Bates      Bates                                                                    Motion To Seal
PX0662    JBLU014    JBLU014   Email thread between   JetBlue moves to redact             As explained in Section       Historic; Overredacted;
           81040      81041    Barry McMenamin        information related to specific     II.D. of the Motion,          Pre-NEA competition.
                               and Robbie Mehoke      pricing and discount terms          disclosure of customer
                               from February 2018     provided to a corporate customer    lists and highly sensitive,   This document relates to
                               regarding renewal of   as well as the corporate customer   non-public pricing and        fare offers for corporate
                               corporate discount     name.                               discount information will     customer from February
                               agreement with                                             harm JetBlue's                2018. Language in the
                               corporate customer                                         competitive standing.         email reflects pre-NEA
                                                                                                                        competition between
                                                                                                                        American and JetBlue.
                                                                                                                        Plaintiffs do not object to
                                                                                                                        redaction of name of
                                                                                                                        corporate customer, but do
                                                                                                                        oppose Defendants' other
                                                                                                                        redactions.
PX0663    JBLU014    JBLU014   Email thread between   JetBlue moves to redact             As explained in Section       Historic; Overredacted;
           84552      84557    Robbie Mehoke, Barry   information related to specific     II.D. of the Motion,          Pre-NEA competition.
                               McMenamin, and         pricing and discount terms          disclosure of customer
                               Jeremy Blechman        provided to a corporate customer    lists and highly sensitive,   This document relates to
                               from January 2020 re   as well as the corporate customer   non-public pricing and        fare offers for corporate
                               renewal of corporate   name.                               discount information will     customer from February
                               discount agreement                                         harm JetBlue's                2018. Plaintiffs do not
                               with corporate                                             competitive standing.         object to redaction of name
                               customer                                                                                 of corporate customer, but
                                                                                                                        do oppose Defendants'
                                                                                                                        other redactions.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description           Defendants' Motion To Seal             Defendants' Basis For          Plaintiffs' Objection
Number      Bates      Bates                                                                         Motion To Seal
PX0665    JBLU014    JBLU014   Email thread between     JetBlue moves to redact                As explained in Section       Historic; Overredacted;
           99803      99807    Diane Zaiter, Robbie     information related to specific        II.D. of the Motion,          Pre-NEA competition.
                               Mehoke, Evan             pricing and discount terms             disclosure of customer
                               Jarashow, Michael        provided to a corporate customer       lists and highly sensitive,   This document relates to
                               Hillyard, Aamir Patel    as well as the corporate customer      non-public pricing and        fare offers for corporate
                               from May - June 2018     name.                                  discount information will     customer from June 2018.
                               re: [Corporate                                                  harm JetBlue's                Language in the email
                               Customer] Mint Fares                                            competitive standing.         reflects pre-NEA
                                                                                                                             competition between
                                                                                                                             American and JetBlue.
                                                                                                                             Plaintiffs do not object to
                                                                                                                             redaction of name of
                                                                                                                             corporate customer, but do
                                                                                                                             oppose Defendants' other
                                                                                                                             redactions.
PX0666    JBLU015    JBLU015   September 2019           JetBlue moves to redact                As explained in Section       High-level; Historic;
           05527      05531    JetBlue Presentation,    information regarding its business     II.A. of the motion,          Overredacted; Pre-NEA
                               "Shuttling to & from     strategy and future plans in Boston.   disclosure of corporate       competition.
                               BOS Increased            JetBlue does not move to seal          strategy and forward
                               frequency and Free       historic information about             looking plans will harm       This deck from September
                               Same-Day Changes         performance in Boston or               JetBlue's competitive         2019 discussing routes that
                               plan"                    marketing plans.                       standing.                     have since been announced
                                                                                                                             or entered.
PX0667    JBLU015    JBLU015   Email thread between     JetBlue moves to redact                As explained in Section       Historic; Overredacted;
           13336      13336    Robbie Mehoke,           information related to specific        II.D. of the Motion,          Pre-NEA competition.
                               Michelle Perciak, and    pricing and discount terms             disclosure of customer
                               Gregory Royall from      provided to a corporate customer       lists and highly sensitive,   This document relates to
                               January 2018             as well as the corporate customer      non-public pricing and        fare offers for corporate
                               regarding negotiations   name.                                  discount information will     customer from January
                               with corporate                                                  harm JetBlue's                2018. Plaintiffs do not
                               customer                                                        competitive standing.         object to redaction of name
                                                                                                                             of corporate customer, but
                                                                                                                             do oppose Defendants'
                                                                                                                             other redactions.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description            Defendants' Motion To Seal          Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                       Motion To Seal
PX0668    JBLU015    JBLU015   Standalone JetBlue        JetBlue moves to redact             As explained in Section       High-level; Historic;
           17484      17527    Airways slide deck        information related to specific     II.D. of the Motion,          Overredacted; Pre-NEA
                               from August 2020          pricing and discount terms          disclosure of customer        competition.
                               titled "JetBlue Update:   provided to a corporate customer    lists and highly sensitive,
                               Robbie Mehoke, Sales      as well as the corporate customer   non-public pricing and        This document relates to
                               Director"                 name.                               discount information will     fare offers and high-level
                                                                                             harm JetBlue's                descriptions of JetBlue's
                                                                                             competitive standing.         products from August
                                                                                                                           2020. Plaintiffs do not
                                                                                                                           object to redaction of name
                                                                                                                           of travel agency, but do
                                                                                                                           oppose Defendants' other
                                                                                                                           redactions.
PX0678    JBLU017    JBLU017   Email thread between      JetBlue moves to redact             As explained in Section       Historic; Overredacted;
           72595      72596    Robbie Mehoke,            information related to specific     II.D. of the Motion,          Pre-NEA competition.
                               "BlueInventory            pricing and discount terms          disclosure of customer
                               Leadership," Daryll       provided to a corporate customer    lists and highly sensitive,   This document relates to
                               Newman, and Gregory       as well as the corporate customer   non-public pricing and        fare offers for corporate
                               Royall from February      name.                               discount information will     customer from February
                               2018 re: KPMG                                                 harm JetBlue's                2018. Plaintiffs do not
                               Revenue Management                                            competitive standing.         object to redaction of name
                               request; contains one                                                                       of corporate customer, but
                               attachment titled "FW:                                                                      do oppose Defendants'
                               KPMG Amendment                                                                              other redactions.
                               Review"
PX0678    JBLU017    JBLU017   Email thread between      JetBlue moves to redact             As explained in Section       Historic; Overredacted;
           72597      72597    Robbie Mehoke,            information related to specific     II.D. of the Motion,          Pre-NEA competition.
                               "BlueInventory            pricing and discount terms          disclosure of customer
                               Leadership," Daryll       provided to a corporate customer    lists and highly sensitive,   This document relates to
                               Newman, and Gregory       as well as the corporate customer   non-public pricing and        fare offers for corporate
                               Royall from February      name.                               discount information will     customer from February
                               2018 regarding                                                harm JetBlue's                2018. Plaintiffs do not
                               renewal of corporate                                          competitive standing.         object to redaction of name
                               discount agreement                                                                          of corporate customer, but
                               with corporate                                                                              do oppose Defendants'
                               customer with                                                                               other redactions.
                               attachments containing
                               corporate analyses

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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description            Defendants' Motion To Seal            Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                         Motion To Seal
PX0678    JBLU017    JBLU017   Spreadsheet               JetBlue moves to seal this            As explained in Section       Historic; Overredacted;
           72598      72599    containing information    spreadsheet, which contains           II.D. of the Motion,          Pre-NEA competition.
                               related to market share   detailed information related to       disclosure of customer
                               goals and discount        specific pricing and discount terms   lists and highly sensitive,   This document relates to
                               terms                     provided to a corporate customer.     non-public pricing and        fare offers for corporate
                                                                                               discount information will     customer from February
                                                                                               harm JetBlue's                2018. Plaintiffs do not
                                                                                               competitive standing.         object to redaction of name
                                                                                                                             of corporate customer, but
                                                                                                                             do oppose Defendants'
                                                                                                                             other redactions.
PX0678    JBLU017    JBLU017   Spreadsheet               JetBlue moves to seal this            As explained in Section       Historic; Overredacted;
           72600      72600    containing information    spreadsheet, which contains           II.D. of the Motion,          Pre-NEA competition.
                               related to market share   detailed information related to       disclosure of customer
                               goals and discount        specific pricing and discount terms   lists and highly sensitive,   This document relates to
                               terms                     provided to a corporate customer.     non-public pricing and        fare offers for corporate
                                                                                               discount information will     customer from February
                                                                                               harm JetBlue's                2018. Plaintiffs do not
                                                                                               competitive standing.         object to redaction of name
                                                                                                                             of corporate customer, but
                                                                                                                             do oppose Defendants'
                                                                                                                             other redactions.
PX0678    JBLU017    JBLU017   February 2018             JetBlue moves to redact               As explained in Section       Historic; Overredacted;
           72601      72614    presentation prepared     information related to specific       II.D. of the Motion,          Pre-NEA competition.
                               for corporate customer    pricing and discount terms            disclosure of customer
                                                         provided to a corporate customer      lists and highly sensitive,   This document relates to
                                                         as well as the corporate customer     non-public pricing and        fare offers for corporate
                                                         name.                                 discount information will     customer from February
                                                                                               harm JetBlue's                2018. Plaintiffs do not
                                                                                               competitive standing.         object to redaction of name
                                                                                                                             of corporate customer, but
                                                                                                                             do oppose Defendants'
                                                                                                                             other redactions.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description            Defendants' Motion To Seal            Defendants' Basis For          Plaintiffs' Objection
Number      Bates      Bates                                                                         Motion To Seal
PX0678    JBLU017    JBLU017   Spreadsheet               JetBlue moves to seal this            As explained in Section       Historic; Overredacted;
           72615      72615    containing information    spreadsheet, which contains           II.D. of the Motion,          Pre-NEA competition.
                               related to market share   detailed information related to       disclosure of customer
                               goals and discount        specific pricing and discount terms   lists and highly sensitive,   This document relates to
                               terms                     provided to a corporate customer.     non-public pricing and        fare offers for corporate
                                                                                               discount information will     customer from February
                                                                                               harm JetBlue's                2018. Plaintiffs do not
                                                                                               competitive standing.         object to redaction of name
                                                                                                                             of corporate customer, but
                                                                                                                             do oppose Defendants'
                                                                                                                             other redactions.
PX0697    JBLU022    JBLU022   October 2017              JetBlue moves to redact from this     As explained in Section       Historic; Overredacted;
           11531      11541    Corporate Discount        corporate contract client names and   II.D. of the motion,          Pre-NEA competition.
                               Agreement between         specific pricing information.         disclosure of corporate
                               JetBlue and a             JetBlue does not move to seal the     customer names and            This is a corporate
                               corporate customer.       terms of the corporate customer       corporate pricing will        customer contract for air
                                                         contract.                             harm JetBlue's                travel from June 2019. It
                                                                                               competitive standing.         relates to anticipated
                                                                                                                             testimony in this case.
                                                                                                                             Plaintiffs do not object to
                                                                                                                             redacting customer names,
                                                                                                                             but do oppose Defendants'
                                                                                                                             other redactions.
PX0702    JBLU025    JBLU025   Series of text            JetBlue moves to seal this exhibit    As explained in Section       Employee discourse;
           00953      00957    messages between          in its entirety for containing        I.A. of the motion,           Historic; Overredacted.
                               Derek Klinka, Claire      personal phone numbers and for        personal phone numbers
                               Roeschke, and David       containing competitively sensitive    should be redacted in the     Text conversation from
                               Fintzen from June         future plans.                         interest of privacy.          June 2020 about a
                               2020                                                            As explained in Section       coworker's projects related
                                                                                               II.A. of the motion,          to transactions that have
                                                                                               disclosure of corporate       since been publicly
                                                                                               strategy and forward          disclosed.
                                                                                               looking plans will harm
                                                                                               JetBlue's competitive
                                                                                               standing.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending       Description         Defendants' Motion To Seal            Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                     Motion To Seal
PX0704    JBLU025    JBLU025   Series of text        JetBlue moves to seal this exhibit    As explained in Section      Employee discourse;
           01613      01622    messages between      in its entirety for containing        I.A. of the motion,          Historic; Overredacted.
                               David Fintzen and     personal phone numbers and for        personal phone numbers
                               Derek Klinka from     containing competitively sensitive    should be redacted in the    Text conversation from
                               May 2020              future plans.                         interest of privacy.         June 2020 about a
                                                                                           As explained in Section      coworker's projects related
                                                                                           II.A. of the motion,         to transactions that have
                                                                                           disclosure of corporate      since been publicly
                                                                                           strategy and forward         disclosed.
                                                                                           looking plans will harm
                                                                                           JetBlue's competitive
                                                                                           standing.
PX0712    JBLU025    JBLU025   Series of text        JetBlue moves to redact the phone     As explained in Section      Employee discourse;
           27337      27357    messages between      number of the participants in the     I.A. of the motion,          Historic; Publicly
                               Joanna Geraghty and   text messages, and to redact future   personal phone numbers       available.
                               Robin Hayes from      network planning and business         should be redacted in the
                               June 2020             strategy. JetBlue does not move to    interest of privacy.         Text conversation from
                                                     seal historic information.            As explained in Section      June 2020 referring to
                                                                                           II.A. of the motion,         plans that have since been
                                                                                           disclosure of network        publicly announced.
                                                                                           planning and forward
                                                                                           looking plans will harm
                                                                                           JetBlue's competitive
                                                                                           standing.
PX0718    JBLU025    JBLU025   Series of text        JetBlue moves to redact certain       As explained in Section      Employee discourse;
           56093      56103    messages between      non-public information about          II.A. of the Motion,         Historic.
                               David Neeleman and    contemplated partnerships with        highly sensitive, non-
                               Robin Hayes from      other airlines.                       public information related   Text conversation from
                               February 2018                                               to corporate strategy,       February 2018 with a non-
                                                                                           including those involving    employee.
                                                                                           potential transactions,
                                                                                           will harm JetBlue's
                                                                                           competitive standing.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description           Defendants' Motion To Seal            Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                        Motion To Seal
PX0718    JBLU025    JBLU025   Series of text           JetBlue moves to redact certain       As explained in Section      Employee discourse;
           56097      56097    messages between         non-public information about          II.A. of the Motion,         Historic.
                               David Neeleman and       contemplated partnerships with        highly sensitive, non-
                               Robin Hayes from         other airlines.                       public information related   Text conversation from
                               February 2018                                                  to corporate strategy,       February 2018 with a non-
                                                                                              including those involving    employee.
                                                                                              potential transactions,
                                                                                              will harm JetBlue's
                                                                                              competitive standing.
PX0718    JBLU025    JBLU025   Series of text           JetBlue moves to redact certain       As explained in Section      Employee discourse;
           56098      56098    messages between         non-public information about          II.A. of the Motion,         Historic.
                               David Neeleman and       contemplated partnerships with        highly sensitive, non-
                               Robin Hayes from         other airlines.                       public information related   Text conversation from
                               February 2018                                                  to corporate strategy,       February 2018 with a non-
                                                                                              including those involving    employee.
                                                                                              potential transactions,
                                                                                              will harm JetBlue's
                                                                                              competitive standing.
PX0721    JBLU025    JBLU025   June 11, 2020 JetBlue    JetBlue moves to redact from this     As explained in Section      Core to the NEA; Publicly
           98842      98859    Presentation, "Project   presentation future network           II.A. of the motion,         available.
                               Connie Exec Read-        planning and related granular         disclosure of future
                               Out Draft"               financial data on margins. JetBlue    strategic plans will harm    June 2020 presentation on
                                                        does not move to seal general         JetBlue's competitive        the Northeast Alliance with
                                                        discussions of historic performance   standing.                    some redactions covering
                                                        and the Northeast Alliance.                                        plans that have already
                                                                                              As explained in Section      been implemented.
                                                                                              II.C. of the motion,         Plaintiffs' position is that
                                                                                              disclosure of future         only plans that have not yet
                                                                                              granular financial data      been announced should be
                                                                                              will harm JetBlue's          redacted.
                                                                                              competitive standing.
PX0738    JBLU026    JBLU026   Series of text           JetBlue moves to redact the phone     As explained in Section
           27526      27530    messages between         numbers of the participants in the    I.A. of the motion,
                               Michael Quiello and      text messages. JetBlue does not       personal phone numbers
                               Scott Laurence from      move to seal the conversation.        should be redacted in the
                               June 2020                                                      interest of privacy.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description              Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number      Bates      Bates                                                                           Motion To Seal
PX0739    JBLU026    JBLU026   Series of text             JetBlue moves to redact the phone      As explained in Section     Employee discourse;
           27810      27837    messages between           number of the participants in the      I.A. of the motion,         Historic.
                               Scott Laurence and         text messages, and to redact future    personal phone numbers
                               Robin Hayes from           network planning and business          should be redacted in the   Text conversation from
                               April 2020                 strategy of how to negotiate with      interest of privacy.        April 2020 regarding plans
                                                          American. JetBlue does not move        As explained in Section     that did not come to
                                                          to seal historic market information.   II.A. of the motion,        fruition.
                                                                                                 disclosure of network
                                                                                                 planning and negotiating
                                                                                                 strategy will harm
                                                                                                 JetBlue's competitive
                                                                                                 standing.
PX0740    JBLU026    JBLU026   Series of text             JetBlue moves to seal this exhibit     As explained in Section     Employee discourse;
           27823      27837    messages between           in its entirety because it contains    I.A. of the motion,         Historic.
                               Robin Hayes and Scott      the phone number of the                personal phone numbers
                               Laurence from April        participants in the text messages,     should be redacted in the   Text conversation from
                               2020                       and to redact future network           interest of privacy.        April 2020 regarding plans
                                                          planning and business strategy of      As explained in Section     that did not come to
                                                          how to negotiate with American.        II.A. of the motion,        fruition. Plaintiffs do not
                                                                                                 disclosure of network       oppose redacting airport
                                                                                                 planning and negotiating    codes and phone numbers,
                                                                                                 strategy will harm          but do oppose Defendants'
                                                                                                 JetBlue's competitive       other redactions.
                                                                                                 standing.
PX0754    JBLU027    JBLU027   JetBlue handwritten        JetBlue moves to seal this exhibit     As explained in Section     Historic; Overredacted;
           27455      27457    notes from a February      in its entirety because it details     II.A. of the motion,        Publicly available.
                               13, 2020 board             JetBlue's corporate strategy and       disclosure of corporate
                               meeting related to fleet   network planning.                      strategy and network        This document contains
                               safety, audits, and                                               planning will harm          information regarding pre-
                               compensation related                                              JetBlue's competitive       NEA competition.
                               to a pending corporate                                            standing.                   Defendants propose
                               transaction.                                                                                  sealing this in its entirety
                                                                                                                             and have not offered
                                                                                                                             proposed redactions,
                                                                                                                             despite Plaintiffs' requests.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending         Description            Defendants' Motion To Seal             Defendants' Basis For      Plaintiffs' Objection
Number      Bates      Bates                                                                           Motion To Seal
PX0763     JBLU-      JBLU-     March 18, 2021           JetBlue moves to redact from this       As explained in Section   Historic; Overredacted;
            LIT-       LIT-     JetBlue email thread     email thread non-stale                  II.B. of the motion,      Publicly available.
          00025049   00025051   between Dave Clark,      competitively sensitive information     disclosure of pricing
                                Kimberly Parker,         regarding JetBlue's pricing and         strategy will harm        This document relates to
                                Jonathan Weiner,         bidding strategy. JetBlue does not      JetBlue's competitive     routes from Defendants'
                                Evan Jarashow,           move to seal general information        standing.                 pirior bids for government
                                BlueInventory&Fares      about the bid.                                                    travel contracts. Plaintiffs
                                Leadership, and Ryan                                                                       do no object to redacting
                                Metzger from re: GSA                                                                       the fares, but do oppose
                                FY 22 Bid Summary                                                                          Defendants' other
                                                                                                                           redactions.
PX0801    JBLU-      JBLU-      July 2021 email thread   JetBlue moves to redact parts of        As explained in Section   Historic; Overredacted;
          LIT-       LIT-       between Reese            the email thread in this exhibit that   II.A. of the motion,      Publicly available.
          01552226   01552259   Davidson, Todd           relate to JetBlue's corporate           disclosure of non-stale
                                Homan, Peter Irvine,     competitive strategy in the UK          competitively sensitive   It has been publicly
                                Fahad Ahmad, Jason       market. JetBlue also moves to seal      corporate strategy        announced that JetBlue
                                Horner, Albert           the attachment to the email in this     information will harm     was not awarded remedy
                                Muldoon, Kevin           exhibit. The attachment titled          JetBlue's competitive     slots at London Heathrow,
                                Bryan, and Robert        "2020 11 13 (B6) inc mark up for        standing.                 and that JetBlue has
                                Land re: JetBlue         applicant.pdf" contains                                           entered service to London.
                                Submissions to           commercially sensitive information                                This document is from July
                                Mazars/CMA;              regarding JetBlue's corporate                                     2021.
                                contains one             competitive strategy in the UK
                                attachment titled        market.
                                "2021 07 22 PE
                                decision S22 slots (NC
                                version B6).pdf"




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal           Defendants' Basis For     Plaintiffs' Objection
Number      Bates       Bates                                                                        Motion To Seal
PX0805    JBLU-       JBLU-      November 2020 mail       JetBlue moves to seal the            As explained in Section   Historic; Overredacted;
          LIT-        LIT-       thread between James     attachment to the email in this      II.A. of the motion,      Publicly available.
          01561435    01561463   Lambert, Robert Land,    exhibit. The attachment titled       disclosure of non-stale
                                 Ronan Flanagan, Liam     "2020 11 13 (B6) inc mark up for     competitively sensitive   It has been publicly
                                 Maclean, Michael         applicant.pdf" contains              corporate strategy        announced that JetBlue
                                 Jewell, Colin Garland,   commercially sensitive information   information will harm     was not awarded remedy
                                 Claire Corbett, April    regarding JetBlue's corporate        JetBlue's competitive     slots at London Heathrow,
                                 Carr, ProjectTaurus-     competitive strategy in the UK       standing.                 and that JetBlue has
                                 External, and Reese      market.                                                        entered service to London.
                                 Davidson from re:                                                                       This document is from
                                 CMA London-Boston                                                                       November 2020.
                                 slot, contains one
                                 attachment titled
                                 "2020 11 13 (B6) inc
                                 mark up for
                                 applicant.pdf"
PX0807     JBLU-       JBLU-     June 19, 2020 JetBlue    JetBlue moves to redact from the     As explained in Section   Core to the NEA; High-
            LIT-        LIT-     presentation, "Board     presentation business strategy and   II.A. of the motion,      level; Overredacted.
          01566947    01566961   of Directors - June      planning information. JerBlue        disclosure of corporate
                                 Meeting - Emerging       does not move to seal historic       strategy will harm        These are decks created
                                 from the Crisis - v10    market information.                  JetBlue's competitive     during NEA negotiations
                                 (Connie)"                                                     standing.                 presented to the JetBlue
                                                                                                                         board and executives,
                                                                                                                         containing high-level
                                                                                                                         descriptions of the NEA,
                                                                                                                         and subsequently shared
                                                                                                                         with the UK Competition
                                                                                                                         and Markets Authority.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending         Description           Defendants' Motion To Seal            Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                        Motion To Seal
PX0813     JBLU-      JBLU-     Email from Dave          JetBlue moves to redact portions of   As explained in Section      High-level; Historic.
            LIT-       LIT-     Clark to Joi Dolvin-     the attachment, which contains        II.B and II.E of the
          01767343   01767370   Plummer from             information regarding JetBlue's       motion, disclosure of        This document provides a
                                September 2021 re:       proprietary pricing and inventory     highly sensitive, non-       high-level overview of
                                Print 4 color copies     tools, processes and strategies.      public pricing strategy      revenue management and
                                please; contains one                                           and proprietary tools will   network planning for a
                                attachment titled "RM                                          harm JetBlue's               newly added Board of
                                and Network slides for                                         competitive standing.        Directors member. It
                                Monte Ford                                                                                  contains organizational
                                vFinal.pdf"                                                                                 charts, a history of changes
                                                                                                                            to industry fare options
                                                                                                                            since 2008, and basic
                                                                                                                            information about airline
                                                                                                                            pricing and route
                                                                                                                            schedules. Plaintiffs do not
                                                                                                                            object to redacting specific
                                                                                                                            forecast numbers or current
                                                                                                                            non-public pricing
                                                                                                                            strategies, but do oppose
                                                                                                                            Defendants' other
                                                                                                                            redactions.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description          Defendants' Motion To Seal           Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                      Motion To Seal
PX0814     JBLU-      JBLU-     June 2021              JetBlue moves to redact from this    As explained in Section      High-level; Historic;
            LIT-       LIT-     Competitive            2021 presentation corporate          II.A. of the motion,         Overredacted.
          01767974   01768113   Assessment Primer      strategy and future planning         disclosure of forward-
                                prepared by JetBlue,   information regarding expanding      looking plans and            This email thread from
                                "Competitive Primer"   offered services. JetBlue further    corporate strategy will      June 2021 and its
                                                       moves to redact granular financial   harm JetBlue's               attachments provide an
                                                       information. JetBlue does not        competitive standing.        airline industry overview.
                                                       move to seal historic or current     As explained in Section      Defendants' redactions
                                                       market information.                  II.C. of the motion,         cover high-level, historic
                                                                                            disclosure of granular       descriptions of JetBlue's
                                                                                            financial information will   performance (e.g., in 2021
                                                                                            harm JetBlue's               in NEA airports, handling
                                                                                            competitive standing.        of costs during the
                                                                                                                         beginning of the pandemic
                                                                                                                         in 2020), and high-level
                                                                                                                         strategies such as tapping
                                                                                                                         into the vacation-home
                                                                                                                         rental market or improving
                                                                                                                         personalization for
                                                                                                                         customers.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending        Description          Defendants' Motion To Seal           Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                      Motion To Seal
PX0814     JBLU-      JBLU-     June 2021              JetBlue moves to redact from this    As explained in Section      High-level; Historic;
            LIT-       LIT-     Competitive            2021 presentation corporate          II.A. of the motion,         Overredacted.
          01767974   01768113   Assessment Primer      strategy and future planning         disclosure of forward-
                                prepared by JetBlue,   information regarding expanding      looking plans and            This email thread from
                                "Competitive Primer"   offered services. JetBlue further    corporate strategy will      June 2021 and its
                                                       moves to redact granular financial   harm JetBlue's               attachments provide an
                                                       information. JetBlue does not        competitive standing.        airline industry overview.
                                                       move to seal historic or current     As explained in Section      Defendants' redactions
                                                       market information.                  II.C. of the motion,         cover high-level, historic
                                                                                            disclosure of granular       descriptions of JetBlue's
                                                                                            financial information will   performance (e.g., in 2021
                                                                                            harm JetBlue's               in NEA airports, handling
                                                                                            competitive standing.        of costs during the
                                                                                                                         beginning of the pandemic
                                                                                                                         in 2020), and high-level
                                                                                                                         strategies such as tapping
                                                                                                                         into the vacation-home
                                                                                                                         rental market or improving
                                                                                                                         personalization for
                                                                                                                         customers.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description            Defendants' Motion To Seal             Defendants' Basis For       Plaintiffs' Objection
Number      Bates       Bates                                                                           Motion To Seal
PX0818    JBLU-       JBLU-      November 2021 email      JetBlue moves to redact parts of        As explained in Section         Historic; Publicly
          LIT-        LIT-       thread between Dave      the email thread in this exhibit that   II.A. of the motion,                available.
          01790297    01790303   Clark, Robin Hayes,      relate to non-stale strategic           disclosure of prospective
                                 Joanna Geraghty,         discussions about revenue               business plans will harm       This document from
                                 Ursula Hurley, Dimpy     initiatives. JetBlue also moves to      JetBlue's competitive       November 2021 includes
                                 Singh, Scott Laurence,   seal the attachment to the email        standing. As explained in   plans that have since been
                                 Santiago Martello,       thread in this exhibit. The exhibit     Section II.C of the           publicly announced or
                                 Pete Gianvecchio,        contains commercially sensitive         motion, disclosure of             implemented.
                                 Carol Clements,          information regarding revenue           granular financial data
                                 Maryssa Miller, Alex     strategy, as well as granular           will harm JetBlue's
                                 Chatkewitz, Andres       revenue data.                           competitive standing.
                                 Barry, Sara Bogdan,
                                 Richard Johns,
                                 Jonathan Weiner,
                                 Robbie Mehoke, Sasha
                                 Barker, Jose Calado,
                                 Jayne O'Brien, and
                                 Don Uselmann from
                                 November 2021 re:
                                 2022 Revenue
                                 Initiative Options
                                 (Recommendations);
                                 contains one
                                 attachment titled
                                 "Potential 2022
                                 Revenue Initiatives
                                 vFinal.xlsx"




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending         Description           Defendants' Motion To Seal            Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                         Motion To Seal
PX0820     JBLU-      JBLU-     October 22, 201          JetBlue moves to redact future        As explained in Section      Core to the NEA; Historic.
            LIT-       LIT-     JetBlue email from       network planning. JetBlue does not    II.A. of the motion,
          01905282   01905283   Andrew Uzenoff to        move to seal remaining discussions    disclosure of future         This document describes
                                Eric Friedman and        related to historic and current       network planning will        summer 2022 frequencies
                                Jack Massey from         market information about JFK and      harm JetBlue's               under the NEA, which will
                                October 2021 re: NEA     LGA.                                  competitive standing.        be publicly available by
                                materials for next                                                                          the time of trial, including
                                week; contains three                                                                        the fact that American no
                                attachments titled                                                                          longer offers service
                                "RE: LGA                                                                                    between Boston and La
                                Frequencies," "JFK                                                                          Guardia.
                                Connectivity Summer
                                2022_B6 edits.xlsx,"
                                and "Copy of NEA
                                Steady State Plan -
                                October 2021
                                Meeting.xlsx"
PX0822     JBLU-      JBLU-     Email thread between     JetBlue moves to redact portions of   As explained in Section      High-level; Historic.
            LIT-       LIT-     Jonathan Weiner, Blue    the attachment, which contains        II.B and II.E of the
          02113531   02113591   Inventory & Fares        information regarding JetBlue's       motion, disclosure of        This document includes
                                Leadership, Dave         proprietary pricing and inventory     highly sensitive, non-       revenue strategies up
                                Clark, Scott Laurence,   tools, processes and strategies.      public pricing strategy      through 2021, which are no
                                Andrea Lusso, and                                              and proprietary tools will   longer competitively
                                Richard Johns from                                             harm JetBlue's               sensitive.
                                September 2021 re:                                             competitive standing.
                                FW: Monte Ford
                                Slides; contains two
                                attachments titled,
                                "RM and Network
                                slides for Monte Ford
                                v.8.pdf" and "RM and
                                Network slides for
                                Monte Ford v.8.pptx"




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal           Defendants' Basis For        Plaintiffs' Objection
Number      Bates       Bates                                                                        Motion To Seal
PX0838    JBLU-       JBLU-      JetBlue's September      JetBlue moves to redact parts of     As explained in Section         High-level; Historic;
          LIT-        LIT-       2021 Senior              the presentation that relate to      II.A. of the motion,               Overredacted.
          02768723    02768857   Leadership Team          competitively sensitive future       disclosure of future
                                 Strategy Offsite         network planning and corporate       network plans and               Redactions cover high-
                                 presentation regarding   strategy, as well as granular        corporate strategy will        level strategies for 2021
                                 Strategy and Business    financial data.                      harm JetBlue's                  (which have now been
                                 Development"                                                  competitive standing. As        implemented), general
                                                                                               explained in Section II.C    statements about long-term
                                                                                               of the motion, disclosure       metrics, description of
                                                                                               of granular financial data       JetBlue’s past growth
                                                                                               will harm JetBlue's             performance, and past
                                                                                               competitive standing.        travel products dating back
                                                                                                                                       to 2017.
PX0839     JBLU-       JBLU-     June 2021                JetBlue moves to redact from this    As explained in Section      High-level; Historic;
            LIT-        LIT-     Competitive              2021 presentation corporate          II.A. of the motion,         Overredacted.
          02770232    02770371   Assessment Primer        strategy and future planning         disclosure of forward-
                                 prepared by JetBlue,     information regarding expanding      looking plans and            This email thread from
                                 "Evolution to a Travel   offered services. JetBlue further    corporate strategy will      September 2021 and its
                                 Company"                 moves to redact granular financial   harm JetBlue's               attachments provide an
                                                          information. JetBlue does not        competitive standing.        airline industry overview.
                                                          move to seal historic or current     As explained in Section      Defendants' redactions
                                                          market information.                  II.C. of the motion,         cover high-level, historic
                                                                                               disclosure of granular       descriptions of JetBlue's
                                                                                               financial information will   performance (e.g., in 2021
                                                                                               harm JetBlue's               in NEA airports, handling
                                                                                               competitive standing.        of costs during the
                                                                                                                            beginning of the pandemic
                                                                                                                            in 2020), and high-level
                                                                                                                            strategies such as tapping
                                                                                                                            into the vacation-home
                                                                                                                            rental market or improving
                                                                                                                            personalization for
                                                                                                                            customers.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending         Description         Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number      Bates      Bates                                                                       Motion To Seal
PX0842     JBLU-      JBLU-     Series of text         JetBlue moves to redact future        As explained in Section     Employee discourse; High-
            LIT-       LIT-     messages between       network planning and business         II.A. of the motion,        level; Historic; Publicly
          03005559   03193911   Eric Friedman and      strategy. JetBlue does not move to    disclosure of future        available.
                                Jack Massey from       seal historic or current market       network and business
                                September 2020         information.                          plans will harm JetBlue's   This document discusses
                                                                                             competitive standing.       public-facing trends in the
                                                                                                                         airline industry between
                                                                                                                         2015 and 2020. The
                                                                                                                         conversation is from
                                                                                                                         September 2020.
PX0846     JBLU-      JBLU-     Series of text         JetBlue moves to redact the phone     As explained in Section     Core to the NEA;
            LIT-       LIT-     messages between       numbers of the participants in the    I.A. of the motion,         Employee Discourse.
          03242122   03242131   Scott Laurence and     text messages, and business           personal phone numbers
                                Warren Christie from   strategy with respect to              should be redacted in the   This document from
                                August 2021            transatlantic service. JetBlue does   interest of privacy.        August 2021 includes
                                                       not move to seal other business       As explained in Section     information about the
                                                       conversations.                        II.A. of the motion,        terms and strategy of the
                                                                                             disclosure of corporate     NEA. Plaintiffs do not
                                                                                             strategy will harm          object to redacting phone
                                                                                             JetBlue's competitive       numbers, but do oppose
                                                                                             standing.                   Defendants' other
                                                                                                                         redactions.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending        Description           Defendants' Motion To Seal            Defendants' Basis For          Plaintiffs' Objection
Number      Bates       Bates                                                                        Motion To Seal
PX0862    JBLU-       JBLU-      NEA Corporate Go-to-   American moves to redact from          As explained in Section       Core to the NEA.
          LIT-        LIT-       Market Proposal,       this exhibit, a deck used to present   II.A., disclosure of
          03617462    03617477   dated April 15, 2021   American's ideas about the             information regarding         This document from April
                                                        strategies and tactics to compete      American's strategy in        2021 describes the
                                                        for customers in the Northeast         targeting specific            structure of the NEA. It is
                                                        Alliance, specific information         customers as part of the      central to the topic of this
                                                        about how American is targeting        Northeast Alliance will       litigation.
                                                        corporate customers.                   allow competitors to
                                                                                               anticipate and target those
                                                                                               same customers using the
                                                                                               other competitively
                                                                                               sensitive information
                                                                                               about the NEA offerings
                                                                                               that have not been
                                                                                               redacted from this
                                                                                               presentation and other
                                                                                               documents to gain an
                                                                                               advantage.
PX0866     JBLU‐       JBLU‐     Series of text         JetBlue moves to redact future         As explained in Section       Core to the NEA;
            LIT‐        LIT‐     messages between       funding and network information.       II.A, of the motion,          Employee discourse;
          03734347    03735909   Eric Friedman and      JetBlue does not move to seal          disclosure of future plans    Overredacted; Publicly
                                 Eric Tanner from       historic or current market             will harm JetBlue's           available.
                                 September 2020         information.                           competitive standing.
                                                                                                                             This document from July
                                                                                                                             2021 includes discussion
                                                                                                                             of network decisions
                                                                                                                             related to the NEA, some
                                                                                                                             of which have been
                                                                                                                             publicly announced or
                                                                                                                             disclosed.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting    Ending         Description           Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates       Bates                                                                         Motion To Seal
PX0899    SSBT_00    SSBT_00    Email thread between     JetBlue moves to redact               As explained in Section     Historic; Overredacted;
           00206      00225     Barry McMenamin          information related to specific       II.D. of the Motion,        Pre-NEA competition.
                                and Dorothy Nee from     pricing and discount terms            disclosure of highly
                                March - May 2019 re:     provided to a corporate customer.     sensitive, non-public       This document relates to
                                Renewal Update -                                               pricing and discount        fare offers for corporate
                                New agreement and                                              information will harm       customer from May 2019.
                                summary presentation;                                          JetBlue's competitive       Plaintiffs do not object to
                                contains two                                                   standing.                   redaction of name of
                                attachments titled                                                                         corporate customer, but do
                                "State Street                                                                              oppose Defendants' other
                                Corporation Corporate                                                                      redactions.
                                MSA April 1,
                                2019.pdf" and "State
                                Street FF
                                presentation.pdf"
PX0918    AA-        AA-NEA-    Standalone American      American moves to redact from         As explained in Sections    Core to the NEA;
          NEA-       01396660   slide deck from May      this presentation regarding the       II.A. and II.C. of the      Overredacted.
          01396637              2020 titled "Garland     Northeast Alliance routes             Motion, disclosure of
                                Relationship Options     identified as potential new           future plans and granular   This document reflects
                                & Proposals" with file   international routes that American    financial data will harm    Defendants' descriptions of
                                name "Garland - INTL     has not announced or launched and     American's competitive      the NEA from May 2020.
                                Review - 04May -         detailed financial information for    standing.                   Such descriptions are
                                Internal.pptx"           American and JetBlue that is not                                  central to this litigation.
                                                         public and competitively sensitive.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting   Ending        Description          Defendants' Motion To Seal            Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                       Motion To Seal
PX0919    AA-                  Standalone Excel        American moves to seal this           As explained in Section      Core to the NEA; Historic;
          NEA-                 document from April     exhibit, which is an output of        II.C. of the Motion,         Publicly availabe.
          01399291             2020; contains nine     American's proprietary Raven          granular financial data if
                               tabs titled, "Rainbow   model that details highly sensitive   disclosed will harm          This document from April
                               Rev," "Rainbow Pax,"    and granular revenue data             American's competitive       2020 reflects early-stage
                               "OD Rev Chg AA          associated with American,             standing. Additionally,      models of the NEA. This
                               Dom Op," "OD Rev        American's flights, and its           the output reveals highly    model is central to this
                               Chg B6 Dom Op,"         partnerships reflected in a           competitively sensitive      litigation, and much of the
                               "OD Rev Chg Mixed       spreadsheet spanning more than 80     features of American's       information contained
                               Metal," "Hub            pages.                                proprietary Raven model      therein has been publicly
                               Summary," "Seg Data                                           that should be sealed        disclosed or implemented.
                               AA Op," "Seg Data                                             consistent with Section
                               B6 Op," and "Flow                                             II.E. of the Motion.
                               Over Leg AA
                               BOSLHR"
PX0920    AA-                  Standalone Excel        American moves to seal this           As explained in Section      Core to the NEA; Historic;
          NEA-                 document from April     exhibit, which is an output of        II.C. of the Motion,         Publicly availabe.
          01399305             2020; contains eight    American's proprietary Raven          granular financial data if
                               tabs titled, "Rainbow   model that details highly sensitive   disclosed will harm          This document from April
                               Rev," "Rainbow Pax,"    and granular revenue data             American's competitive       2020 reflects early-stage
                               "OD Rev Chg AA          associated with American,             standing. Additionally,      models of the NEA. This
                               Dom Op," "OD Rev        American's flights, and its           the output reveals highly    model is central to this
                               Chg B6 Dom Op,"         partnerships reflected in a           competitively sensitive      litigation, and much of the
                               "OD Rev Chg Mixed       spreadsheet spanning more than 80     features of American's       information contained
                               Metal," "Hub            pages.                                proprietary Raven model      therein has been publicly
                               Summary Rev," "Seg                                            that should be sealed        disclosed or implemented.
                               Data AA Op," and                                              consistent with Section
                               "Seg Data B6 Op"                                              II.E. of the Motion.




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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting   Ending        Description          Defendants' Motion To Seal            Defendants' Basis For         Plaintiffs' Objection
Number      Bates      Bates                                                                       Motion To Seal
PX0921    AA-                  Standalone Excel        American moves to seal this           As explained in Section      Core to the NEA; Historic;
          NEA-                 document from April     exhibit, which is an output of        II.C. of the Motion,         Publicly availabe.
          01399308             2020; contains eight    American's proprietary Raven          granular financial data if
                               tabs titled, "Rainbow   model that details highly sensitive   disclosed will harm          This document from April
                               Rev," "Rainbow Pax,"    and granular revenue data             American's competitive       2020 reflects early-stage
                               "OD Rev Chg AA          associated with American,             standing. Additionally,      models of the NEA. This
                               Dom Op," "OD Rev        American's flights, and its           the output reveals highly    model is central to this
                               Chg B6 Dom Op,"         partnerships reflected in a           competitively sensitive      litigation, and much of the
                               "OD Rev Chg Mixed       spreadsheet spanning more than 80     features of American's       information contained
                               Metal," "Hub            pages.                                proprietary Raven model      therein has been publicly
                               Summary," "Seg Data                                           that should be sealed        disclosed or implemented.
                               AA Op," and "Seg                                              consistent with Section
                               Data B6 Op"                                                   II.E. of the Motion.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description             Defendants' Motion To Seal             Defendants' Basis For        Plaintiffs' Objection
Number      Bates       Bates                                                                            Motion To Seal
PX0925    AA-         AA-NEA-    Email from Neal           American moves to redact portions       As explained in Section     Proposed redactions not
          NEA-        02143113   Parikh to Vasu Raja,      of this exhibit, which include          II.A. and II.C. of the      received.
          02143000               Massimo Mancini,          Board decks from July 2021              Motion, disclosure of
                                 Devon May, Nina           spanning more than 100 pages that       competitively sensitive     Plaintiffs have not received
                                 Wittkamp, and Steffen     were used by the company to             business information        revised redactions from
                                 Fuchs from July 2021      explain to the Board in detail          regarding American's        Defendants and have been
                                 re: Network Strategy      American's future commercial            future plans and granular   unable to review.
                                 Update (pre-read);        strategy. Despite its sensitivity,      financial data will harm
                                 contains two              American does not move to redact        American's competitive
                                 attachments titled, "1.   specific discussions of the             standing.
                                 Executive Summaries       Northeast Alliance and American's
                                 Chapters 1-4 (July 23     strategy with respect to New York
                                 PM).pdf" and "2. Pre-     and Boston. However, American
                                 read Slides Chapter 1-    moves to redact from these
                                 4 (July 25th PM).pdf"     presentations the most sensitive
                                                           portions that reveal granular and
                                                           competitively sensitive financial
                                                           data including yield and
                                                           profitability data broken out by
                                                           types of routes, revenue data
                                                           specific to American's partnerships
                                                           and highly sensitive and relatively
                                                           recent future strategy and network
                                                           plans, including detailed analysis
                                                           of American's prospects in
                                                           different airports and future plans
                                                           with respect to existing or potential
                                                           partnerships.




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                                 Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending       Description           Defendants' Motion To Seal          Defendants' Basis For      Plaintiffs' Objection
Number      Bates       Bates                                                                     Motion To Seal
PX0935    JBLU006     JBLU006   January 25, 2019        JetBlue moves to redact from this   As explained in Section   High-level; Historic.
          27566       27567     JetBlue email thread    email thread future network         II.A. of the motion,
                                between Nicholas        planning for Newark. JetBlue does   disclosure of future      Plaintiffs have not received
                                Han, Tom Kuehn,         not move to seal historic market    network planning will     revised redactions from
                                Andrea Lusso, Erick     information about Newark.           harm JetBlue's            Defendants and have been
                                Capps, Jack Massey,                                         competitive standing.     unable to review; however,
                                Eric Friedman, Chung-                                                                 Defendants confirmed that
                                Chiang Kao, and                                                                       they anticipate
                                Kevin Costello from                                                                   substantially similar
                                January 2019 re: EWR                                                                  redactions the proposed
                                growth outlook                                                                        redactions for PX0314.
                                                                                                                      PX0314 is an email from
                                                                                                                      July 2021 related to high-
                                                                                                                      level strategies and
                                                                                                                      historical descriptions of
                                                                                                                      markets, such as passenger
                                                                                                                      breakdowns from 2019.
                                                                                                                      Consistent with the
                                                                                                                      approach for PX0314,
                                                                                                                      Plaintiffs do not anticipate
                                                                                                                      objecting to redactions of
                                                                                                                      specific margin
                                                                                                                      percentages, but do
                                                                                                                      anticipate opposing
                                                                                                                      Defendants' other
                                                                                                                      redactions.




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                              Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

PX0936   JBLU017   JBLU017   Email from Jack           JetBlue moves to redact future   As explained is Section   Historic; Pre-NEA
          87894     87896    Massey to Ciprian         network planning information.    II.A. of the motion,      competition; Publicly
                             Acatrinei, John Allen,    JetBlue does not move to seal    disclousre of future      available.
                             Jesus Baez, Alex          historic or current market       network planning will
                             Battaglia, Eric Berger,   information                      harm JetBlue's            This document reflects
                             Heather Berko,                                             competitive standing.     Defendants' network plans
                             BluePlanning,                                                                        for 2019 to 2021. These
                             Katherine Celli,                                                                     flights have been flown or
                             Warren Christie, Dave                                                                were abandonned.
                             Clark, Giselle Cortes,
                             Kevin Costello, Ian
                             Deason, Joseph
                             DeVito, Joshua Dover,
                             Hakan Ergan, Mandy
                             Gargano, Joshua
                             Goldwitz, Jeffrey
                             Goodell, Kapil
                             Gwalani, Thomas
                             Howell, Rose Hsu,
                             David Jehn, Loretta
                             Kennedy, Tony
                             LaCognata, Jeff
                             Landgrebe, Scott Link,
                             Andrew Matuson,
                             Peter McManus,
                             Ponnarasi Sakthivelu,
                             Gisselle Sanchez,
                             Adam Schless, Kelly
                             Shannon, Keith
                             Slotter, Mike Stine,
                             Wallce Trolan, Jakob
                             Van Leeuwen, Andy
                             Parker, Maryssa
                             Miller, Amit Chawla,
                             Jeffery Hunt, Wendy
                             Juengerkes, Santiago
                             Martello, Michael
                             Brocker, Lisa Reifer,
                             Chantal Van
                             Wijnbergen, Robert

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                                Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending         Description           Defendants' Motion To Seal           Defendants' Basis For         Plaintiffs' Objection
Number     Bates      Bates                                                                       Motion To Seal
                               Martinelli, Caryl
                               Spoden, Tim
                               Massimiano, William
                               Mercier, Reese
                               Davidson, Matthew
                               Urbanek, Jin Wang,
                               Thomsa Connolly,
                               Christopher
                               McCloskey, Mariya
                               Stoyanova, Andres
                               Barry, Michael
                               Pezzicola, Allison
                               Silverstein, and Route
                               Planning from
                               September 2019 re:
                               **CONFIDENTIAL*
                               * Quarterly Network
                               Development Update




PX0938    JBLU025    JBLU025   Series of text           JetBlue moves to redact the phone     As explained in Section     Core to the NEA;
           00877      00917    messages between         numbers of the participants in the    I.A. of the motion,         Employee discourse; High-
                               +19788463237, David      text messages and granular            personal phone numbers      level.
                               Fintzen, and Claire      financial information. JetBlue        should be redacted in the
                               Roeschke from May        does not move to redact historic or   interest of privacy.        This document includes a
                               2020                     current market information.           As explained in Section     high-level description of a
                                                                                              II.C. of the motion,        tool used to evaluate the
                                                                                              disclosure of granular      NEA.
                                                                                              financial data will harm
                                                                                              JetBlue's competitive
                                                                                              standing.




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                                  Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit    Starting    Ending         Description           Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number      Bates       Bates                                                                         Motion To Seal
PX0949    JBLU-       JBLU-      Standalone JetBlue       JetBlue moves to redact from this     As explained in Section      Historic; Overredacted;
          LIT-        LIT-       slide deck titled        board presentation granular           II.A and II.C, disclosure    Publicly available.
          04405031    04405206   "Board of Directors      financial data (including margins     of detailed and granular
                                 Meeting" from            and profitability); future plans      financial data related to    This document addresses
                                 February 2022            related to network, infrastructure,   margins and profitability    projects that have since
                                                          fleet plans; and draft board          as well as highly            been publicly disclosed.
                                                          resolutions.                          sensitive, strategic         The document also
                                                                                                planning documents,          includes high-level plans
                                                                                                including those involving    and backward-looking
                                                                                                future plans, will harm      anecdotes.
                                                                                                JetBlue's competitive
                                                                                                standing.
PX0949     JBLU-       JBLU-     February 2022 JetBlue    JetBlue moves to redact from this     As explained in Section      Historic; Overredacted;
            LIT-        LIT-     Presentation, "Board     2022 presentation future business     II.A. of the motion,         Publicly available.
          04405031    04405206   of Directors Meeting"    planning and strategy, future         disclosure of forward-
                                                          network planning, future fleet        looking plans and            This document addresses
                                                          planning, and granular financial      corporate strategy will      projects that have since
                                                          information. JetBlue does not         harm JetBlue's               been publicly disclosed.
                                                          move to seal historic and current     competitive standing.        The document also
                                                          market information.                   As explained in Section      includes high-level plans
                                                                                                II.C. of the motion,         and backward-looking
                                                                                                disclosure of granular       anecdotes.
                                                                                                financial information will
                                                                                                harm JetBlue's
                                                                                                competitive standing.
PX1006                           Exhibit 2 of N. Miller   American moves to seal this           This map provides            Core to the NEA; High-
                                 Expert Report (June 9,   exhibit. The exhibit is a map of      competitors an               level; Historic.
                                 2022)                    where American's customers reside     understanding of where
                                                          created using American's frequent     marketing could be           This document reflects
                                                          flier ticket data.                    targeted to capture more     expert, theoretical,
                                                                                                of American's customers.     empirical analysis of
                                                                                                Thus, disclosure will        aggregated and
                                                                                                harm American's              anonymized frequent flyer
                                                                                                competitive standing as      ticket data from 2019.
                                                                                                explained in Section II of
                                                                                                the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description            Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                        Motion To Seal
PX1007                        Exhibit 3 of N. Miller   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                    where JetBlue's customers reside       understanding of where
                                                       created using JetBlue's ticket sales   marketing could be           This document reflects
                                                       data.                                  targeted to capture more     expert, theoretical,
                                                                                              of JetBlue's                 empirical analysis of
                                                                                              customers. Thus,             aggregated and
                                                                                              disclosure will harm         anonymized JetBlue ticket
                                                                                              JetBlue's competitive        data from 2019.
                                                                                              standing as explained in
                                                                                              Section II of the Motion.
PX1008                        Exhibit 4 of N. Miller   American moves to seal this            This table provides          Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a table        competitors an               level; Historic.
                              2022)                    indicating where American and          understanding of where
                                                       JetBlue customers reside.              marketing could be           This document reflects
                                                                                              targeted to capture more     expert, theoretical,
                                                                                              of American and JetBlue      empirical analysis of
                                                                                              customers. Thus,             aggregated and
                                                                                              disclosure will harm         anonymized JetBlue and
                                                                                              Defendants' competitive      American ticket data from
                                                                                              standing as explained in     2019.
                                                                                              Section II of the Motion.
PX1009                        Exhibit 5 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                    where American's customers reside      understanding of where
                                                       created using American's frequent      marketing could be           This document reflects
                                                       flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                              of American's customers.     empirical analysis of
                                                                                              Thus, disclosure will        aggregated and
                                                                                              harm American's              anonymized American
                                                                                              competitive standing as      ticket data from 2019.
                                                                                              explained in Section II of
                                                                                              the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description            Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                        Motion To Seal
PX1010                        Exhibit 6 of N. Miller   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                    where JetBlue's customers reside       understanding of where
                                                       created using JetBlue's ticket sales   marketing could be           This document reflects
                                                       data.                                  targeted to capture more     expert, theoretical,
                                                                                              of JetBlue's                 empirical analysis of
                                                                                              customers. Thus,             aggregated and
                                                                                              disclosure will harm         anonymized JetBlue ticket
                                                                                              JetBlue's competitive        data from 2019.
                                                                                              standing as explained in
                                                                                              Section II of the Motion.
PX1011                        Exhibit 7 of N. Miller   American moves to seal this            This table provides          Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a table        competitors an               level; Historic.
                              2022)                    indicating where American and          understanding of where
                                                       JetBlue customers reside.              marketing could be           This document reflects
                                                                                              targeted to capture more     expert, theoretical,
                                                                                              of American and JetBlue      empirical analysis of
                                                                                              customers. Thus,             aggregated and
                                                                                              disclosure will harm         anonymized JetBlue and
                                                                                              Defendants' competitive      American ticket data from
                                                                                              standing as explained in     2019.
                                                                                              Section II of the Motion.
PX1013                        Exhibit 9 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,   exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                    where American's customers reside      understanding of where
                                                       created using American's frequent      marketing could be           This document reflects
                                                       flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                              of American's customers.     empirical analysis of
                                                                                              Thus, disclosure will        aggregated and
                                                                                              harm American's              anonymized American
                                                                                              competitive standing as      ticket data from 2019.
                                                                                              explained in Section II of
                                                                                              the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description             Defendants' Motion To Seal            Defendants' Basis For       Plaintiffs' Objection
Number     Bates      Bates                                                                         Motion To Seal
PX1014                        Exhibit 10 of N. Miller   JetBlue moves to seal this             This map provides           Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an              level; Historic.
                              2022)                     where JetBlue's customers reside       understanding of where
                                                        created using JetBlue's ticket sales   marketing could be          This document reflects
                                                        data.                                  targeted to capture more    expert, theoretical,
                                                                                               of JetBlue's                empirical analysis of
                                                                                               customers. Thus,            aggregated and
                                                                                               disclosure will harm        anonymized American
                                                                                               JetBlue's competitive       ticket data from 2019.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.
PX1015                        Exhibit 11 of N. Miller   American moves to seal this            This table provides         Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a table        competitors an              level; Historic.
                              2022)                     indicating where American and          understanding of where
                                                        JetBlue customers reside.              marketing could be          This document reflects
                                                                                               targeted to capture more    expert, theoretical,
                                                                                               of American and JetBlue     empirical analysis of
                                                                                               customers. Thus,            aggregated and
                                                                                               disclosure will harm        anonymized American
                                                                                               Defendants' competitive     ticket data from 2019.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.
PX1016                        Exhibit 12 of N. Miller   JetBlue moves to seal this exhibit.    This map provides           Core to the NEA; High-
                              Expert Report (June 9,    This exhibit is a map of where         competitors an              level; Historic.
                              2022)                     Jetblue's customers reside created     understanding of where
                                                        using JetBlue's ticket sales data      marketing could be          This document reflects
                                                        from the JetBlue slide deck “New       targeted to capture more    expert, theoretical,
                                                        York & Washington DC Slot              of JetBlue's                empirical analysis of
                                                        Acquisition Plan,” dated January       customers. Thus,            aggregated and
                                                        2012                                   disclosure will harm        anonymized ticket data
                                                                                               JetBlue's competitive       from 2012.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description             Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                          Motion To Seal
PX1024                        Exhibit 20 of N. Miller   JetBlue moves to seal this exhibit.    As explained in Section      Core to the NEA; High-
                              Expert Report (June 9,    This exhibit is a table showing        II.A. of the motion,         level; Historic.
                              2022)                     granular financial information         disclosure of highly
                                                        concerning JetBlue's corporate         sensitive, non-public        This document reflects
                                                        strategy in certain domestic           information concerning       expert, theoretical,
                                                        markets.                               JetBlue's corporate          empirical analysis of
                                                                                               strategy will harm           aggregated and
                                                                                               JetBlue's competitive        anonymized data.
                                                                                               standing.
PX1037                        Exhibit 33 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where American's customers reside      understanding of where
                                                        created using American's frequent      marketing could be           This document reflects
                                                        flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                               of American's customers.     empirical analysis of
                                                                                               Thus, disclosure will        aggregated and
                                                                                               harm American's              anonymized American
                                                                                               competitive standing as      ticket data from 2019.
                                                                                               explained in Section II of
                                                                                               the Motion.
PX1038                        Exhibit 34 of N. Miller   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where JetBlue's customers reside       understanding of where
                                                        created using JetBlue's ticket sales   marketing could be           This document reflects
                                                        data.                                  targeted to capture more     expert, theoretical,
                                                                                               of JetBlue's                 empirical analysis of
                                                                                               customers. Thus,             aggregated and
                                                                                               disclosure will harm         anonymized JetBlue ticket
                                                                                               JetBlue's competitive        data from 2019.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description             Defendants' Motion To Seal            Defendants' Basis For        Plaintiffs' Objection
Number     Bates      Bates                                                                         Motion To Seal
PX1039                        Exhibit 35 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where American's customers reside      understanding of where
                                                        created using American's frequent      marketing could be           This document reflects
                                                        flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                               of American's customers.     empirical analysis of
                                                                                               Thus, disclosure will        aggregated and
                                                                                               harm American's              anonymized American
                                                                                               competitive standing as      ticket data from 2019.
                                                                                               explained in Section II of
                                                                                               the Motion.
PX1040                        Exhibit 36 of N. Miller   JetBlue moves to seal this             This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where JetBlue's customers reside       understanding of where
                                                        created using JetBlue's ticket sales   marketing could be           This document reflects
                                                        data.                                  targeted to capture more     expert, theoretical,
                                                                                               of JetBlue's                 empirical analysis of
                                                                                               customers. Thus,             aggregated and
                                                                                               disclosure will harm         anonymized JetBlue ticket
                                                                                               JetBlue's competitive        data from 2019.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.
PX1041                        Exhibit 37 of N. Miller   American moves to seal this            This map provides            Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an               level; Historic.
                              2022)                     where American's customers reside      understanding of where
                                                        created using American's frequent      marketing could be           This document reflects
                                                        flier ticket data.                     targeted to capture more     expert, theoretical,
                                                                                               of American's customers.     empirical analysis of
                                                                                               Thus, disclosure will        aggregated and
                                                                                               harm American's              anonymized American
                                                                                               competitive standing as      ticket data from 2019.
                                                                                               explained in Section II of
                                                                                               the Motion.




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                               Appendix A (Exhibits To Be Sealed Objected To By Plaintiffs)

Exhibit   Starting   Ending        Description             Defendants' Motion To Seal            Defendants' Basis For       Plaintiffs' Objection
Number     Bates      Bates                                                                         Motion To Seal
PX1042                        Exhibit 38 of N. Miller   JetBlue moves to seal this             This map provides           Core to the NEA; High-
                              Expert Report (June 9,    exhibit. The exhibit is a map of       competitors an              level; Historic.
                              2022)                     where JetBlue's customers reside       understanding of where
                                                        created using JetBlue's ticket sales   marketing could be          This document reflects
                                                        data.                                  targeted to capture more    expert, theoretical,
                                                                                               of JetBlue's                empirical analysis of
                                                                                               customers. Thus,            aggregated and
                                                                                               disclosure will harm        anonymized JetBlue ticket
                                                                                               JetBlue's competitive       data from 2019.
                                                                                               standing as explained in
                                                                                               Section II of the Motion.




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